Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 1 of 52




                      EXHIBIT A-6
Business Confidential   (')
                        o                         Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 2 of 52
                        Z
                        ."
                        o
                        m
                        z                                                               Section 5 - Integrity Management
                        -I                                                          (Conformance Guidelines for Contractors)
                        »
                        r
                                      Integrity                                                                                     Relevant to
                                                            Wh.at r.ole d.o Co.NTRAC::TQRsplay in helpin.g                              this
                                     Management                                                                                                                         Conformance?                     Gap?
                                                                           COMPANY comply?                                          Contr.act?
                                      Element
                                                                                                                                       (YIN).                         ....                       .            .

                                                     via formal documentation and communication with affected staff.
                                                     Demonstrate Implementation of risk mitigations based on hazard
                                                     assessments
                                                     Performed evaluation to identify SCE based on risk assessment,
                                                     CONTRACTOR specified, or generic COMPANY SCE lists.
                                                     \Mlere appropriate, take part in Risk assessment meetings.
                                                     \Mlere applicable, implement COMPANY-identified risk mitigations
                                                     and / or participate in the COMPANY risk assessment process and
                                                     assist in providing solutions for the risks identified.
                                                     Communicate and implement with the required degree of rigor
                                                     QA/QC I v'-lUil vlllvllL<> specified in the contract, COMPANY standards

                               ';2 L ..
                                                     and
                                                     ... j;.i.
                                                                 'L'


                                                                                                                          ....•... :.·: .. i······ ..:;: . .:•....•          .;..
                                                                                                                                                                                                     ,   ..

                                                       Demonstrate systems and procedures to assure that design and any
                                4. Facilities          construction, installation or maintenance activity confirms materials,
                                   and Process         equipment, structures, and temporary equipment are fit for purpose,
                                   Integrity           life-cycle service, will avoid loss of containment, and maintain
                                                       structural integrity.
                                                       Confirm that manufacturing processes are documented, and where
                                                       necessary processes and operators are qualified to provide
                                                       assurance that design intent and integrity is achieved.
                                                       Demonstrate understanding of and adherence to relevant
                                                       COMPANY specifications, Engineering Technical Practices (ETP),
                                                       Site Technical Practices (STP), Site Operating Procedures (SOP),
                                                       and regulatory requirements.
                                                       CONTRACTORs participating in maintenance, inspection, and
                                                       operating procedures that impact integrity management (onsite and
                                                       offsite) are aware of 1M Standard implications relating to their

                               .;~   ........
                                5. Protective
                                                       activities.
                                                     ...•          '. . '... ....
                                                                           .'  ;; :               '.. '
                                                                                                   "    . . '.
                                                       CONTRACTORs working on protective systems follow relevant
                                                                                                                                                                        ......• ...... ... ...
                                                                                                                                                                                    :   :   ~    ,                .....
                                   Systems             STPs and SOPs and other site specific guidelines and practices.
                        co                             Suppliers will identify, verify, and turn over key data for procured
                        ""'0
                         I                             materials, equipment, and/or services for Projects, O&M, Drilling and
                        I                              Wells related to protective systems to comply with COMPANY
                        N
                        Z
                          I
                        :s;:
                        CO
                        o       Halliburton Energy Services, Inc.                                      Page 10 of 22
                        o       BPM-09-00255
                        o
                        N
                        N
                        m
                        Ul
                        ~
Business Confidential   (')
                        o                                Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 3 of 52
                        Z
                        ."
                        o
                        m
                        z                                                                                     Section 5 - Integrity Management
                        -I                                                                                (Conformance Guidelines for Contractors)
                        »
                        r
                                                                                                                                                                  Relevant to
                                          Integrity
                                                                     Wh.at r.ole d.o Co.NTRAC::TQRsplay in helpin.g                                                   this
                                         Management                                                                                                                               Conformance?      Gap?
                                                                                    COMPANY comply?                                                               Contr.act?
                                          Element
                                                                                                                                                                     (YIN).     ....         .          .

                                                            specifications and regulatory requirements.
                                                            Suppliers will also have a key role in ensuring that systems are
                                                            properly designed, installed, documented, and appropriately tested,
                                                            certified, inspected and maintained.
                                                            Protective systems and/or devices shall not be bypassed, removed
                                                            from service, or prevented from working as intended, either
                                                            permanently or temporarily, without special controls putting in place
                                                            and COMPANY approval obtained.
                                                            Deviations to specification will require COMPANY Management of
                                                            Change (MOC) approval.
                                                            Where appropriate, suppliers will need to work with COMPANY to
                                                            identify requirements for protective systems.
                                                                                                                                                                                                 ..•;>•.•.   .'';.',
                                                            CONTRACTORs / suppliers working on COMPANY sites will need
                                   6. Practices
                                                            to be familiar with relevant ETP, STP, SOP, Regulatory Procedures
                                      and
                                                            (RP), and Drilling and Wells Operations Policy (DWOP) as defined
                                      Procedures
                                                            by COMPANY.
                                                            CONTRACTOR's / supplier's internal shop practices & procedures
                                                            should be consistent with the intent of this element. Where
                                                            appropriate the field practices and procedures will be reviewed and
                                                            cornmented on by COMPANY.
                                       .•..
                                                            CONTRACTORs will have an internal MOC system in place.
                                       7. Management
                                                            CONTRACTORs I suppliers to interface with COMPANY MOC
                                          of Change
                                                            process as required.
                                                            A CONTRACTOR's internal MOC processes will need to confirm 1M
                                                            Standard risks are mitigated and are subject to their in-house
                                                            specialist approval.
                                                            Clear process shall be in place to confirm when COMPANY TA
                                                            approval is needed for changes and / or rectification work.
                                                            MOC shall be approved by COMPANY before work is completed
                                                                           :        ..... : ..:.;....•.                              ..; :.';..                                                                 ,',
                        co
                        ""'0
                               •....          ,,:
                                       8. Emergency
                                                    :.         ':.             .:                         .:.   ..:',;::
                                                            When working at COMPANY sites, CONTRACTORs will need to be
                                                                                                                           ',;,,:,   '   ..       ..   }:   ...      ,,:   ::
                                                                                                                                                                                  .'                "

                         I
                        I                 Response          familiar with COMPANY's CM and ER plans. They may also be
                        N                 and Crisis        involved in COMPANY CM and ER training programs and drills as
                        Z
                          I
                        :s;:
                        CO
                        o              Halliburton Energy Services, Inc.                                                      Page 11 of 22
                        o              BPM-09-00255
                        o
                        N
                        N
                        m
                        Ul
                        Ul
Business Confidential   (')
                        o                            Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 4 of 52
                        Z
                        ."
                        o
                        m
                        z                                                                Section 5 - Integrity Management
                        -I                                                           (Conformance Guidelines for Contractors)
                        »
                        r
                                         Integrity                                                                               Relevant to
                                                             Wh.at r.ole d.o Co.NTRAC::TQRsplay in helpin.g                          this
                                        Management                                                                                               Conformance?   Gap?
                                                                            COMPANY comply?                                      Contr.act?
                                         Element
                                              .                                                                                     (YIN).     ....         .   .

                                        Management     appropriate.
                                                       CONTRACTORs operating their own equipment (drilling rigs,
                                                       vessels, construction equip) on behalf of COMPANY will have CM
                                                       and ER plans that are compatible with COMPANY's.
                                                       Document a program to alert COMPANY management and technical
                                                       authorities of material recalls and materials-related safety alerts and
                                                       to take necessary actions to mitigate risk.
                                                       A documented process to account for the location of materials after
                                                       an             ' Alert Notice is validated.
                               :.:,:'
                                  9. Incident          CONTRACTORs and suppliers shall advise COMPANY of 1M
                                     Investigation     Standard-related incidents during the contracU PO execution and
                                     and Learning      any that may result in a product recall/ rectification program.
                                                       Suppliers may become involved in investigation of a COMPANY
                                                       incident or on occasion may be required to conduct their own
                                                       investiqations.
                                                       After an 1M Standard incident related to materials or equipment,
                                                       assure                  of             to avoid recurrence.
                                                                                                                                                                    ."<
                                  1O. Perforrnance     Maintain external accreditation to quality and environmental
                                      Management       standards organizations such as IS09001/2000 and IS014001
                                                       Demonstrate systems and procedures for management review,
                                                       internal audit, non-conformance identification / close out and
                                                       preventative action.
                                                       Put in place meaningful and measurable KPls to monitor internal
                                                       and CONTRACTOR/ sub-suppliers integrity management and
                                                       quality management performance.
                                                       Suppliers I CONTRACTORs may be required to participate in
                                                       gathering and reporting metrics on COMPANY Operations or their
                                                       own.


                        co
                        '"'0
                         I
                        I
                        N
                        Z
                          I
                        :s;:
                        CO
                        o         Halliburton Energy Services, Inc.                                  Page 12 of 22
                        o         BPM-09-00255
                        o
                        N
                        N
                        m
                        Ul
                        m
                  Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 5 of 52




                                                   Section 5 - Integrity Management
                                               (Conformance Guidelines for Contractors)



                                 Appendix 2 - CONTRACTOR 1M REQUIREMENTS
                 Integrity management is the overall practice of managing the activities associated with the integrity of
                 operations and facilities. The COMPANY 1M Standard is a COMPANY global requirements document
                 under the COMPANY Operating Management System (OMS) that enforces rigor around technical
                 accountability, risk management, and adherence to Group Engineering Technical Practices (ETP), Site
                 Technical Practices (STP) and COMPANY Operating procedures. The primary objective of the 1M
                 Standard is to ensure that life cycle technical, safety and environmental performance is inherent and
                 maintained in our facilities.

                 The 1M Standard applies to all projects, O&M, drilling, and well activities related to the design,
                 procurement, construction, maintenance, and/or operation of integrity management critical equipment
                 and/or materials.

                 When COMPANY delegates work activities, accountability still remains with COMPANY, therefore all
                 COMPANY operating units are expected to develop and implement a rigorous assessment process
                 applied throughout design, procurement, construction, maintenance, and operations to assure our
                 facilities are built and managed safely and to comply with the 1M Standard. In general, the COMPANY
                 Integrity Management SPA and EA are accountable for assuring the actions specified in this document
                 are carried out. As always with the 1M Standard, it is assumed that the Integrity Management SPA and
                 EA may delegate these accountabilities to other staff at the COMPANY Operation.


                 CONTRACTORS

                 CONTRACTORs and suppliers playa crucial role in many areas of our operations. The 1M Standard is
                 applied as rigorously to CONTRACTORs and suppliers as it is to COMPANY staff. This document
                 provides guidance on application of the 1M Standard to CONTRACTORs and suppliers.

                 For the purposes of this document, the term "CONTRACTOR" is used to describe any third party with the
                 potential to impact 1M Standard at a COMPANY facility or operation. The term "CONTRACTOR" will
                 include those vendors traditionally thought of as CONTRACTORs (e.g., Firms that supply labor or
                 services to the facility) and will also include suppliers of equipment, engineering services, and non-
                 COMPANY staff individuals who COMPANY contracts with to do work on COMPANY owned and/or
                 leased facilities. This document does not intend to duplicate all requirements of the 1M Standard. This
                 document highlights those activities specifically related to CONTRACTORs and SUBCONTRACTORs.


                 SUBCONTRACTORs

                 As CONTRACTORs work with COMPANY Operations to implement the 1M Standard, they will inevitably
                 use CONTRACTORs of their own (SUBCONTRACTORs from COMPANY's perspective). The following
                 criteria should apply to the application of the 1M Standard to SUBCONTRACTORs

                                 SUBCONTRACTORs who impact 1M Standard at a site/project should be held to the
                                 same standards and rigor as direct CONTRACTORs and COMPANY Staff.

                                 In general, the CONTRACTOR should be accountable for ensuring that their
                                 SUBCONTRACTORs understand and effectively implement the 1M Standard.
                                 CONTRACTORs should therefore be given the flexibility to apply the intent of the 1M
                                 Standard to their SUBCONTRACTORs in the most efficient manner possible.

                                 There may be instances where COMPANY chooses to take accountability for application
                                 of the 1M Standard to SUBCONTRACTORs because of the critical nature of the activity.




                 Halliburton Energy Services, Inc.            Page 13 of 22
                 BPM-09-00255



CONFIDENTIAL                                                                                                   B P-HZN-MB 100022657
Business Confidential
                  Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 6 of 52




                                                   Section 5 - Integrity Management
                                               (Conformance Guidelines for Contractors)


                 Application of the elements of the 1M Standard shall be fit for purpose for the specific CONTRACTOR and
                 work scope. The actions listed below will be reviewed for each CONTRACTOR relationship. COMPANY
                 will prioritize engagement with their CONTRACTORs based on the risk associated with the
                 CONTRACTOR's activity, size of the CONTRACTOR, and scope of the activity.


                 Element 1 - Accountabilities

                                 CONTRACTOR shall appoint an equivalent of the Integrity Management SPA to act as a
                                 central point of contact for COMPANY on 1M Standard related issues and to ensure the
                                 CONTRACTOR is meeting the intent ofthe 1M Standard.
                                 CONTRACTOR shall appoint an equivalent of the EA to monitor correct application of the
                                 CONTRACTOR's and/or COMPANY's technical practices and other relevant aspects of
                                 the 1M Standard.
                                 The Integrity Management SPA shall ensure that COMPANY's contract with the
                                 CONTRACTOR specifies requirements to meet the 1M Standard. (see the contract scope
                                 of work)


                 Element 2 - Competence

                                 CONTRACTOR will have a program in place to ensure competence of their employees.
                                 At a minimum the competence program will:
                                      o   Define the competences required to effectively deliver the 1M Standard
                                      o    Include assessments against the required competences,
                                      o    Identify and track gaps, and
                                      o    Include training programs and training records to close any gaps.
                                 COMPANY shall ensure an audit or monitoring process is implemented to ensure
                                 CONTRACTORs are executing their competence program. COMPANY's auditing or
                                 monitoring of the CONTRACTOR's program shall not contravene local labor laws.
                                 COMPANY will comply with auditing standard IS019011.
                                 The Integrity Management SPA shall ensure COMPANY staff have the competence to
                                 adequately monitor performance of the CONTRACTOR competence program.
                                 COMPANY operations will maintain an approved CONTRACTOR list that includes
                                 integrity management capabilities in the criteria.
                                 COMPANY operations will maintain a supplier performance management process that
                                 includes integrity management in the assessment criteria.


                 Element 3 - Hazard Evaluation and Risk Management

                                 CONTRACTOR shall have internal processes to identify 1M Standard hazards that impact
                                 their work for COMPANY.
                                 CONTRACTOR shall have internal processes to manage, document, and communicate
                                 risks that could impact integrity management performance.
                                 Where appropriate, CONTRACTOR shall understand and be able to participate in
                                 COMPANY's internal hazard evaluation and risk management programs.
                                 The Integrity Management SPA shall ensure that a risk management policy exists for the
                                 procurement of materials and services that could impact integrity management at the
                                 COMPANY Operation.
                                 The integrity management SPA shall ensure that hazard identification processes (e.g.,
                                 HAZOPs) identify CONTRACTOR interfaces and activities that could impact integrity
                                 management at the COMPANY Operations.




                 Halliburton Energy Services, Inc.           Page 14 of 22
                 BPM-09-00255



CONFIDENTIAL                                                                                                  B P-HZN-MB 100022658
Business Confidential
                  Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 7 of 52




                                                   Section 5 - Integrity Management
                                               (Conformance Guidelines for Contractors)

                                 The Integrity Management SPA shall ensure that risk mitigation activities exist to manage
                                 identified risks. The application of hazard identification processes may be prioritized
                                 based on the perceived risk or criticality ofthe material or service.


                 Element 4 - Facilities and Process Integrity

                                 CONTRACTOR shall have in place and be able to demonstrate that systems and
                                 procedures exist and are being followed to ensure that deSign, construction, installation,
                                 maintenance, and other activities that could impact 1M are fit for purpose and will avoid
                                 loss of containment and maintain structural integrity for the life cycle of the equipment,
                                 material, or structure.
                                 CONTRACTORs shall ensure that manufacturing processes are documented, and where
                                 necessary, processes and operators are qualified to ensure that design intent and
                                 integrity is achieved.
                                 CONTRACTORs shall demonstrate understanding of and adherence to relevant
                                 COMPANY Specifications (e.g., ETP, STP, SOP, and regulatory requirements).
                                 CONTRACTORs participating in maintenance, inspection, testing, operating, and other
                                 procedures that impact 1M (onsite and offSite) shall demonstrate they are aware of 1M
                                 implications relating to their activities.
                                 The COMPANY Operation EA shall ensure that any CONTRACTOR deviations to ETP or
                                 STP are properly vetted and approved.
                                 The 1M Standard SPA shall ensure that any CONTRACTOR deviations to SOP are
                                 properly vetted and approved.


                 Element 5 - Protective Systems

                                 CONTRACTORs working on protective systems shall follow relevant STP and SOP and
                                 other site specific guidelines and practices.
                                 CONTRACTORs shall follow relevant ETP, STP, and SOP to identify requirements for
                                 the deSign, installation, documentation, testing, certification, inspection, and maintenance
                                 of protective systems.
                                 CONTRACTORs shall ensure that protective systems and/or devices are not bypassed,
                                 removed from service, or prevented from working as intended, either permanently or
                                 temporarily, without following procedures approved by the COMPANY Operation.
                                 CONTRACTORs shall ensure that any changes or deviations to protective systems are
                                 subject to the COMPANY Operations MOC process.
                                 CONTRACTORs will identify, verify, and turn over key data for procured materials,
                                 equipment, and/or services related to protective systems to comply with COMPANY
                                 specifications and regulatory requirements.
                                 The COMPANY operation EA and Integrity Management SPA shall ensure that all
                                 relevant technical practices and procedures related to protective systems are
                                 communicated to the CONTRACTOR.


                 Element 6 - Practices and Procedures

                                 CONTRACTORs must comply with ETP, STP, SOP, and Statement of Requirements
                                 (SOR) relevant to the service, equipment, or material they are providing or provide a
                                 deviation request if conflicting or capability issues arise.
                                 CONTRACTOR intemal procedures associated with technical practices and operating
                                 procedures shall be consistent with the intent of Element 6 of the 1M Standard.
                                 CONTRACTORs shall demonstrate that an appropriate management of change process
                                 exists for their internal practices and procedures.




                 Halliburton Energy Services, Inc.             Page 15 of 22
                 BPM-09-00255



CONFIDENTIAL                                                                                                       B P-HZN-MB 100022659
Business Confidential
                  Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 8 of 52




                                                   Section 5 - Integrity Management
                                               (Conformance Guidelines for Contractors)

                                 The COMPANY operation Engineering Authority and Integrity Management SPA
                                 Standard shall establish which ETP. STP, and SOP apply to the CONTRACTOR.
                                 The COMPANY operation EA shall ensure appropriate technical review of requisitions
                                 and bid documents (PO or contract) occurs to ensure correct interpretation of
                                 requirements against identified risks and to ensure award is made to competent
                                 CONTRACTORs
                                 The COMPANY operation shall ensure that appropriate QAlQC programs exist and are
                                 documented to verify compliance of materials and equipment to design requirements.
                                 The COMPANY operation EA and SPA 1M shall ensure that a MOC to include risk
                                 assessment is conducted for deviations to ETP, STP, and SOP requested by
                                 CONTRACTORs.


                 Element 7 - Management of Change (MOC)

                                 CONTRACTORs shall utilize and participate as required in the COMPANY operation
                                 MOC process.
                                 CONTRACTORs shall maintain and utilize an internal MOC to mitigate risks that impact
                                 1M Standard.
                                 All COMPANY operation MOC requirements shall be approved by COMPANY before
                                 work commences.
                                 The COMPANY operation shall maintain an MOC process for contract and PO processes
                                 to include qualification of new CONTRACTORs.
                                 The COMPANY operation shall have a process to ensure all COMPANY operations MOC
                                 requirements are complete before work commences.


                 Element 8 - Crisis Management and Emergency Response (CM&ER)

                                 CONTRACTORs shall be familiar with the COMPANY operation CM&ER plans and shall
                                 understand their role in execution of the plan.
                                 CONTRACTORs operating their own equipment on behalf of COMPANY will have
                                 CM&ER plans that are compatible with COMPANY's.
                                 CONTRACTORs shall maintain a documented program to alert the COMPANY operation
                                 of material recalls and materials related safety alerts and will take necessary actions to
                                 mitigate risk.
                                 CONTRACTORs shall maintain a documented process to account for the location of
                                 materials after an emergency is validated.
                                 The COMPANY operation shall ensure the CONTRACTOR's roles in executing the
                                 CM&ER plan are understood and clearly communicated.
                                 The COMPANY operation shall ensure that the CONTRACTOR's people, materials, and
                                 processes required to execute the CM&ER plan are ready and tested.


                 Element 9 - Incident Investigation and Learning

                                 CONTRACTORs may become involved in investigation of a COMPANY incident or on
                                 occasion may be required to conduct their own investigations.
                                 After an integrity management incident related to materials or equipment,
                                 CONTRACTOR shall assure implementation of mitigations to avoid recurrence.
                                 CONTRACTORs shall advise COMPANY of any integrity management related incidents
                                 during the contract! PO execution and any that may result in a product recall! rectification
                                 program.
                                 COMPANY incident investigation shall include incidents that are related to
                                 CONTRACTOR activities or supply.




                 Halliburton Energy Services, Inc.             Page 16 of 22
                 BPM-09-00255



CONFIDENTIAL                                                                                                       B P-HZN-MB 100022660
Business Confidential
                  Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 9 of 52




                                                   Section 5 - Integrity Management
                                               (Conformance Guidelines for Contractors)

                                 CONTRACTORs shall maintain and execute performance management processes to
                                 capture and record integrity management incidents.
                                 The SPA 1M shall ensure that, when appropriate, CONTRACTORs are included in
                                 formalized procedures to share results of investigations and to transfer "lessons learned."


                 Element 10 - Performance Management and Learning

                                 CONTRACTORs shall demonstrate systems and procedures for management review,
                                 internal audit, non-conformance identification I close out and preventative action.
                                 CONTRACTORs shall put in place meaningful and measurable KPls to monitor internal
                                 and SUBCONTRACTOR / sub-suppliers 1M performance
                                 CONTRACTORs may be required to participate in gathering and reporting metrics on
                                 COMPANY operations or their own.
                                 The COMPANY operation shall put in place meaningful and measurable KPls to monitor
                                 1M performance for CONTRACTORs considered to have an impact on 1M performance.
                                 The COMPANY operations shall implement verification and audit programs to ensure 1M
                                 requirements are being delivered and that any learning's are fed into the continuous
                                 improvement cycle
                                 The COMPANY operation shall implement suitable corrective I preventative action for
                                 CONTRACTORs not performing to the required standard.




                 Halliburton Energy Services, Inc.             Page 17 of 22
                 BPM-09-00255



CONFIDENTIAL                                                                                                      BP-HZN-MBI00022661
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 10 of 52




                                                     Section 5 - Integrity Management
                                                 (Conformance Guidelines for Contractors)



                        Appendix 3 -ISO 9001 verses COMPANY Integrity Management
                                                  System


                 ActiVity                                                    QuaHty(IS09001)      ..IM Standard
                                                                                                   .. ..
                                                                                                       '
                                                                                                           "   .      ".   '.




                 Responsibility                                              Section 5             Element 1

                 Organization                                                Section 6             Element 2

                 Resource, Competence & Awareness                            Section 6             Element 2

                 Policy & Management system                                  Sections 5.3 & 5.4    Element 6

                 Planning                                                    Sections 5.4 & 7.3

                 Communication                                               Sections 5.5 & 7.2

                 Documents & Records                                         Section 4             Elements 3,4 & 5

                 Requirements for the Product                                Section 7.2           Element 3

                 Review                                                      Sections 5.6 & 7.2

                 Process, Sequence & Interaction                             Section 4

                 Process Effectiveness & Measurement                         Section 4             Element 10

                 Design Input, Output, Review, Verification & Validation     Section 7.3           Element 4

                 Control of Change                                           Section 7.3.7         Element 7

                 Purchasing                                                  Section 7.4           Element 4

                 Production                                                  Section 7.5           Element 4

                 Criticality Assessment (Risk)                               Sections 7.1 & 7.3    Elements 3 & 4

                 Verification, Validation, Inspection & Test Activities      Sections 7.1 & 7.3    Element 4

                 Identification & Traceability                               Section 7.5.3

                 Preservation                                                Section 7.5.5

                 Measurement, Analysis & Improvement                         Section 8             Elements 9 & 1 0




                 Halliburton Energy Services, Inc.                Page 18 of 22
                 BPM-09-00255



CONFIDENTIAL                                                                                                       B P-HZN-MB 100022662
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 11 of 52




                                                        Section 5 - Integrity Management
                                                    (Conformance Guidelines for Contractors)


                       Appendix 4 - EXAMPLE: Generic list of Safety Critical Equipment
                                              (Land Rigs)

                 Generic SCE Register
                 System and Equipment Number and Description

                                                                            System
                                                                 Land                           System       Equipment
                  Ref          Systen"l or Eql!illl11ent**                   Tag
                                                               Operation                       Description   Descrilltion
                                                                            Number


                 1.00    Power Generatiol) & Electrical
                 1.01    Emergency Generator                   NJA
                 1.02    UPS                                   NJA
                 1.03    Batteries                             ER
                 1.04    Cables for Back Up Systems            ER
                 1.05    Egress Lighting                       NJA
                         Emergency Shut Down
                 1.06    Systems                               M, ER
                 1.07    Hazardous Area Equipment              P, M
                 1.08    Rig Call - PAGA                       ER
                 1.09    Safety Devices on Engines             p, M
                         Safety Devices on Generator
                 1.1     Controls                              P, M
                         Safety Devices on Electrical
                 1.11    Switchboards                          P, M
                         Safety Devices on SCR and


                 2.01    Smoke Detectors                       NJA
                 2.02    Flame Detectors                       NJA
                 2.03    Heat Detectors                        N/A
                 2.04    CH4 Detectors                         D
                 2.05    H2S Detectors                         D
                 2.06    Manual Call Point                     D


                 3.01    Fire Pump                             NJA
                 3.02    Hydrants & Hoses                      NJA
                 3.03    Fire Extinguishers                    M
                 3.04    Deluge and sprinkler systems          NJA


                 4.01    BOP Annular                           P,C,M
                 4.02    BOP Rams                              P,C,M
                 4.03    BOP Hoses                             P,C,M
                 4.04    HCR Gate Valves                       P,C,M
                         IBOPs, other string safety
                 4.05    valves                                P,C,M
                 4.06    Choke & Kill Manifold                 P,C,M
                 4.07    Mud Gas Separator                     P,C,M



                 Halliburton Energy Services, Inc.                 Page 19 of 22
                 BPM-09-00255



CONFIDENTIAL                                                                                                    B P-HZN-MB 100022663
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 12 of 52




                                                   Section 5 - Integrity Management
                                               (Conformance Guidelines for Contractors)

                                                                       System   Equipment
                  Ref
                                                              Land      Tag       Jag        System       Equipment
                                                           Operation                        DeSCriptiOn   DeScriptlon
                                                                       Number    Number
                 4.08




                 13                                        C
                 13                                        NJA
                 13                                        C
                 13                                        NJA




                         Cold Start Compressor             M
                 20.1    HVAC Pressurization Systems       P
                         Other items Identified in Risk    P, C, D,
                 20.xx   Assessments                       M, ER
                 Code    Descriptor
                 P       Prevents Major Accident Risk
                 C       Controls Major Accident Risk
                         Detects onset of Major Accident
                 D       Risk
                 M       Mitigates Major Accident Risk
                 ER      Provides response measure




                 Halliburton Energy Services, Inc.           Page 20 of 22
                 BPM-09-00255



CONFIDENTIAL                                                                                                 BP-HZN-MBI00022664
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 13 of 52




                                                                       Section 5 - Integrity Management
                                                                   (Conformance Guidelines for Contractors)

                        Appendix 5 - EXAMPLE: Safety Critical Equipment Decision Tree




                                                                               Is there a reasonable
                            Does the equjxnent
                            contain fl8mrnables
                                                                   Yes        potential for equipment
                                                                             failure th,t cOLld lead to
                           hvdp)carbcns~ or other
                           h~z8rdous chemicals?




                                                                                Is the equiprnent
                          Is the equip,rn,?nt part of                         desigr,\?lj to .Jro"iiae
                            a         -::..:,hutdc)\''',,'rl       Yes
                                                               t
                                                                            control, notificatic;j", or
                            alamt {JI mitiqation                           mitigation fLncticns during
                                system?                                           ernerGerlcies?




                                                                             Is equiprnent designed
                                                                                to                            Yes




                             COllid failure of this                        Is affected upstream and/ol
                           eqllil}men~ pcnmtiallv                             clovvnstreClIl1 equipment
                              cause a                                      adequaTelv prote.:ted
                          r>?lea~;8 of h)'(Jwcarbons.                     or capable :If h8n:lling
                           hazardous ch'?mic3Is                            in this eqlJiprnentllGadinq IC'
                                       in upstr2arn                       potential ~i~I',jicant relea;e of
                                or duw·l,str·~.gm                         flammables, hydr,x:arbons.
                                 equipment?                                  hazardous chemicals'!'




                 Halliburton Energy Services, Inc.                                   Page 21 of 22
                 BPM-09-00255



CONFIDENTIAL                                                                                                        B P-HZN-MB 100022665
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 14 of 52




                                                   Section 5 - Integrity Management
                                               (Conformance Guidelines for Contractors)




                 Halliburton Energy Services, Inc.          Page 22 of 22
                 BPM-09-00255



CONFIDENTIAL                                                                              BP-HZN-MBI00022666
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 15 of 52




                                           Section 6 - Quality Assurance and Quality Control




                          Section 6 - Quality Assurance and Quality Control
                                         Halliburton for GOM




                 Halliburton Energy Services, Inc.            Page 1 of 8
                 BPM-09-002S5



CONFIDENTIAL                                                                                   B P-HZN-MB 100022667
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 16 of 52




                                                    Section 6 - Quality Assurance and Quality Control




                                                                           Table of Contents


                 1.0     SCOPE ............................................................................................................................................. 3

                 2.0     NORMATIVE REFERENCES .......................................................................................................... 3

                 3.0     TERMS AND DEFINITIONS ............................................................................................................ 3

                 4.0     SYMBOLS AND ABBREViATIONS ................................................................................................. 4

                 5.0     TIMELINE OF PROCESS ................................................................................................................ 5

                 6.0     REQUIREMENTS ............................................................................................................................ 5




                 Halliburton Energy Services, Inc.                                  Page 2 of 8
                 BPM-09-002S5



CONFIDENTIAL                                                                                                                                                   B P-HZN-MB 100022668
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 17 of 52




                                            Section 6 - Quality Assurance and Quality Control



                 1.0    SCOPE

                        This document is a guide to the application of Quality Assurance (QA) and Quality Control (QC) for
                        products and services.


                 2.0    REFERENCES

                        International Organization for Standardization (ISO):

                        ISO 9000     Quality Management Systems - Fundamentals and vocabulary.

                        ISO 9001     Quality Management Systems - Requirements.

                        ISO 9004     Quality Management Systems - Guidelines for performance improvement.

                        ISO 29001    API Q1.

                        ISO 10005    Quality Management Systems - Guidelines for Quality Plans.

                        ISO 10006    Quality Management Systems - Guidelines for quality management in projects.

                        ISO 19011    Guidelines for quality and/or environmental management systems auditing.

                        ISO 13879    Petroleum and natural gas industries - Content and drafting of functional
                                     specifications.

                        ISO 13880    Petroleum and natural gas industries - Content and drafting of a technical
                                     specification.

                        ISO 10012    Quality Assurance for measuring equipment - Control of measurement processes.


                 3.0    TERMS AND DEFINITIONS

                        The following terms and definitions apply:

                        3.1   CERTIFICATION

                              The action of determining, verifying, and attesting in writing to the qualification of personnel,
                              processes, procedures or items in accordance with applicable requirements and standards.

                        3.2   CRITICALITY RATING

                              A formalized technique for assessing and measuring the importance of a piece of equipment
                              or material, in regard to the effect that its failure would have on the system or scheme as a
                              whole, and consequently the level of assurance and/or verification to be applied.

                        3.3   INTEGRITY MANAGEMENT (1M)

                              The controlled application of major risk, process safety, and engineering management
                              combined with internationally recognized industry standards and COMPANY developed
                              practices.

                        3.4   PROVISION OF RESOURCES




                 Halliburton Energy Services, Inc.                Page 3 of 8
                 BPM-09-002S5



CONFIDENTIAL                                                                                                         B P-HZN-MB 100022669
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 18 of 52




                                            Section 6 - Quality Assurance and Quality Control


                              Type and amount of resources needed for the successful execution of the Qua lity Plan (QP).

                              These resources may include materials, human resources,                infrastructure and work
                              environment.

                        3.5   QUALITY ASSURANCE (QA)

                              Part of quality management focused on providing confidence that quality requirements will be
                              fulfilled.  The Quality Assurance process uses Integrity Management, provided by a
                              document-based system of procedures in the attainment of technical integrity in deSign,
                              procurement, and construction. The procedures are used to set the base technical integrity
                              requirements to be followed by CONTRACTORs. They set the risk based assurance and
                              verifications to be performed by COMPANY during deSign, procurement and well
                              construction activities.

                        3.6   QUALITY CONTROL (QC)

                              Part of quality management focused on verifying quality requirements. CONTRACTOR's
                              certified Quality Assurance and Quality Control systems supplemented by COMPANY's
                              Integrity Management requirements are part of the Technical Integrity Assurance process.
                              These are used as the primary process to assure and verify that the project integrity
                              assurance system and integrity plan requirements have been met, the facility is safe, and
                              meets the required performance standards at an acceptable cost. Quality Control for
                              products and services is part of the verification system used to provide confidence that the
                              required technical integrity has been adhered to.       It involves checking that specified
                              requirements have been met, often by using inspection and testing techniques, ensuring that
                              the required technical integrity is achieved.

                        3.7   QUALITY PLAN (QP)

                              Document specifying which processes (set of interrelated or interacting activities which
                              transforms inputs into outputs), procedures (specified way to carry out an activity or a
                              process), and associated resources which will be applied by whom and when, to meet the
                              requirement of a specific project, product, process or contract.

                              Note: Definitions for Quality Assurance, Quality Plan, Provision Resources, and Quality
                              Control are similar to those found in the ISO 9000 series.


                        3.8   TECHNICAL INTEGRITY

                              Ensuring equipment and services used in well construction and intervention meet
                              safety/specified requirements, are fit for the intended service, and maintain structural integrity
                              and operational reliability throughout the full lifecycle.


                 4.0    SYMBOLS AND ABBREVIATIONS

                              BU           Business Unit
                              DE           Discipline Engineer
                              E&P          Exploration & Production
                              EA           Engineering Authority
                              FSE          Field Service Engineer
                              HAZOP        Hazardous Operation
                              NC           Non-Conformance
                              NCR          Non-Conformance Report
                              MOC          Management of Change



                 Halliburton Energy Services, Inc.                Page 4 of 8
                 BPM-09-002S5



CONFIDENTIAL                                                                                                          BP-HZN-MBI00022670
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 19 of 52




                                            Section 6 - Quality Assurance and Quality Control


                              PEP          Project Execution Plan
                              PPM          Pre-Production Meeting
                              QMS          Quality Management System
                              RCA          Root Cause Analysis
                              SOP          Safe Operating Procedure
                              SOR          Statement of Requirements
                              SPU          Strategic Performance Unit
                              TA           Technical Authority
                              TI           Technical Integrity
                              TIA          Technical Integrity Assurance


                 5.0    TIMELINE OF PROCESS

                        Delivery is assured through the implementation of a comprehensive Quality Management System
                        (QMS) focused on Quality Management (QM) processes including Quality Assurance (QA) and
                        Quality Control (QC) for all activities from design through to operation. The COMPANY QMS is
                        aligned with the Group Integrity Management (1M) standard.

                        The COMPANY QMS timeline ensures:

                        5.1   PLAN:

                              5.1.1    Quality objectives are set and delivered (Statement of Requirements (SOR) is
                                       issued by COMPANy);

                              5.1.2    Quality management resources are identified and put in place (Quality Plan (QP) is
                                       issued by the CONTRACTOR and accepted by COMPANY prior to the
                                       commencement of WORK); and

                              5.1.3    Focus on prevention of non-conformity and/or quality/process improvement.

                        5.2   EXECUTE:

                              5.2.1    A Pre-production meeting is held prior to the commencement of WORK; and

                              5.2.2    Execution by the CONTRACTOR adheres to the accepted QP.

                        5.3   CHECK:

                              5.3.1    Verification and validation complies with the QP; and

                              5.3.2    Non-conformities are documented through NCR's.

                        5.4   ACT:

                              5.4.1    NCR's generate RCA's and preventive actions.


                 6.0    REQUIREMENTS

                        6.1   CONTRACTOR shall have established, implemented and maintained a Quality Management
                              System in compliance with the requirements of ISO 9001 (latest revision) or another
                              recognized or established standard/format as mutually agreed with COMPANY, providing
                              that all aspects of the CONTRACT and WORK which affect the quality of the services
                              supplied are defined, documented, proceduralized (where required) and controlled under the
                              system (including subcontracted services).



                 Halliburton Energy Services, Inc.               Page 5 of 8
                 BPM-09-00255



CONFIDENTIAL                                                                                                       BP-HZN-MBI00022671
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 20 of 52




                                           Section 6 - Quality Assurance and Quality Control



                        6.2   CONTRACTOR shall implement and maintain product or service specific Quality Plans that
                              will apply for the duration of the CONTRACT. The Quality Plans shall include:

                              6.2.1   Compliance to the CONTRACTOR's Documentation Systems of the applicable
                                      OMS;

                              6.2.2   A statement of the principle stages of the operation of the WORK, in a trace forward
                                      fashion, and that shall include a description of each stage;

                              6.2.3   A list, for each stage of the WORK, of the applicable documents that defines the
                                      Requirements submitted for review and approval by the COMPANY;

                              6.2.4   A list, for each stage of the WORK, of the verifying document that the completed
                                      stage complies with the Requirement;

                              6.2.5   Provision for the COMPANY to populate Surveillance points for each stage of the
                                      WORK, and corresponding to one of the following: Review; Monitor; Witness; or
                                      Hold; and

                              6.2.6   A list of sub-suppliers or SUBCONTRACTORs and the basis for the qualification and
                                      competence assessment.

                              6.2.7   Provision for the COMPANY to review and approve:

                                       (a) The SUBCONTRACTORs and/or sub-suppliers;
                                       (b) The material and/or construction;
                                       (c) The CONTRACTOR's QA systems; and
                                       (d) The completed QP prior to the commencement of WORK.

                        6.3   CONTRACTOR shall ensure that all calibrated equipment used in the course of the WORK
                              shall be calibrated and maintained in compliance with ISO 10012.

                        6.4   CONTRACTOR shall allow COMPANY QA auditors full access to the WORK in progress,
                              facilities, personnel, records, and documentation for the purpose of conducting quality audits
                              in compliance with IS019011.

                        6.5   CONTRACTOR's Quality Plan shall be submitted to COMPANY for approval prior to
                              commencement of the WORK. See 6.2.7(d).

                        6.6   All corrective actions shall comply with ISO 9001 (Chapter 8.5.2) and the report of prevention
                              of reoccurrence shall be submitted to the COMPANY within 30 days of issuance of the CAR.

                        6.7   Corrective actions undertaken by CONTRACTOR as a result of non-conformances being
                              identified during a quality audit or inspection shall be undertaken at no cost to COMPANY.

                        6.8   CONTRACTOR shall compile all necessary documentation in accordance with specified
                              requirements, and such relevant documentation shall be made available to COMPANY
                              and/or the Certifying Authority for validation purposes.

                        6.9   CONTRACTOR shall maintain a document register in compliance with the CONTRACTOR's
                              Document system of the QMS. The document register shall be reviewed by the COMPANY
                              Integrity Assurance Engineer at agreed intervals. Further clarification can be obtained during
                              the PPM.

                        6.10 CONTRACTOR shall comply with the IS010005 and IS09001 relating to the Provision of
                             Resources. If the Provision of Resources is not available at the time of the PPM, the gap



                 Halliburton Energy Services, Inc.               Page 6 of 8
                 BPM-09-002S5



CONFIDENTIAL                                                                                                      B P-HZN-MB 100022672
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 21 of 52




                                           Section 6 - Quality Assurance and Quality Control


                               shall be treated as a deviation and submitted to the COMPANY Integrity Assurance Engineer
                               for review and approval.

                        6.11   CONTRACTOR shall provide a Point of Contact to the COMPANY Integrity Assurance
                               Engineer for all issues relating to the WORK.

                        6.12 Lifting equipment (i.e., equipment baskets, pad eyes, wire rope slings and shackles, etc.)
                             shall have "valid certifications" in accordance with 8P Quality Specification requirements.
                             Rigging shall comply with ASME 830.26, slings with 830.9 and hooks with 830.10.

                        6.13 CONTRACTOR shall adhere to the Management of Change procedures as outlined in
                             Appendix 2 of Section 7.

                        6.14 CONTRACTOR shall agree to assist the COMPANY in achieving the maximum effectiveness
                             of the product/ service delivered, in improving the reliability of the equipment/service
                             delivered, and in avoiding unplanned equipment downtime.




                 Halliburton Energy Services, Inc.              Page 7 of 8
                 8PM-09-002S5



CONFIDENTIAL                                                                                                   B P-HZN-MB 100022673
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 22 of 52




                                           Section 6 - Quality Assurance and Quality Control




                 Halliburton Energy Services, Inc.            Page 8 of 8
                 BPM-09-002S5



CONFIDENTIAL                                                                                   BP-HZN-MBI00022674
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 23 of 52




                                        Section 7 - Health, Safety, Security, and Environment




                        Section 7 - Health, Safety, Security, and Environment
                                         Halliburton for GOM




                 Halliburton Energy Services, Inc           Page 1 of26
                 PM-09-00255



CONFIDENTIAL                                                                                    BP-HZN-MBI00022675
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 24 of 52




                                                Section 7 - Health, Safety, Security, and Environment




                                                                          Table of Contents


                 1.0            INTRODUCTION ...................................................................................................................... 3
                 2.0            HSSE MANAGEMENT SYSTEM ............................................................................................. 3
                 3.0            COMPATIBILITY TO HSSE MANAGEMENT SYSTEMS ........................................................ 3
                 4.0            COMPLIANCE .......................................................................................................................... 3
                 5.0            COMPETENCE ASSURANCE ................................................................................................. 4
                 6.0            REPORTING ............................................................................................................................ 4
                 7.0            MEDICALS, TRAINING, AND PROTECTIVE CLOTHING ...................................................... 5
                 8.0            WORKING CONDITIONS ........................................................................................................ 5
                 9.0            PORTABLE AND TRANSPORTABLE EQUiPMENT ............................................................... 5
                 10.0           HSSE PLAN .............................................................................................................................. 5
                 11.0           HSSE PERFORMANCE STANDARDS ................................................................................... 6
                 12.0           WASTE DISPOSAL AND ENVIRONMENTAL SAFEGUARDS ............................................... 6
                 13.0           REFERENCE DOCUMENTS ................................................................................................... 6
                 APPENDIX 1 - BP's HSSE EXPECTATIONS - GETTING HSSE RIGHT .................................................. 7
                 APPENDIX 2 - THE GOLDEN RULES FOR SAFETY ............................................................................... 11
                 APPENDIX 3A - SUBSTANCE ABUSE POLICY (USA) ............................................................................ 15
                 APPENDIX 4 - SCOPE SPECIFIC HSSE ISSUES ................................................................................... 21
                 APPENDIX 5 - LOCAL HSSE POLICIES AND REQUiREMENTS ............................................................ 22




                 Halliburton Energy Services, Inc                                 Page 2 of26
                 PM-09-00255



CONFIDENTIAL                                                                                                                                                B P-HZN-MB 100022676
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 25 of 52




                                          Section 7 - Health, Safety, Security, and Environment



                 1.0    INTRODUCTION

                        COMPANY places prime importance on health, safety, security, and environmental (nHSSE n)
                        issues and requires that CONTRACTOR and its SUBCONTRACTORs subscribe to and actively
                        pursue the highest standards of HSSE performance. COMPANY's expectations in terms of HSSE
                        are stated in Appendices and references contained herein.


                 2.0    HSSE MANAGEMENT SYSTEM

                        2.1   CONTRACTOR shall provide COMPANY with a statement on its HSSE policy. The policy
                              shall pay due regard to the responsibilities of individuals, incident reporting, safety meetings
                              and safety training. CONTRACTOR shall also have established arrangements for monitoring
                              this policy.

                        2.2   CONTRACTOR must have in place a formal HSSE management system which demonstrates
                              commitment to continuous improvement and excellence in HSSE issues.

                        2.3   CONTRACTOR's HSSE management system shall be adequately documented, shall be
                              shown to be effective in implementing the aims and objectives of CONTRACTOR's HSSE
                              policy, and shall include provisions for auditing the effectiveness of CONTRACTOR's HSSE
                              management system as applied to the WORK.

                        2.4   CONTRACTOR shall review its HSSE management system at least annually and update it as
                              necessary.

                        2.5   Certain activities pose a higher risk to the safety of personnel, property, and the environment.
                              Higher risk activities will accordingly demand a higher level of HSSE management from
                              CONTRACTOR. The use of a SUBCONTRACTOR involves the importation of higher risk
                              activity; therefore CONTRACTOR shall ensure and demonstrate the appropriate higher level
                              of HSSE management. Each CONTRACTOR will ensure that any SUBCONTRACTOR it
                              employs meets these HSSE requirements.

                        2.6   Risk can vary from location to location and, where the WORK is performed at more than one
                              location, CONTRACTOR may be required to provide different levels of HSSE management
                              for each location.


                 3.0    COMPATIBILITY TO HSSE MANAGEMENT SYSTEMS

                        CONTRACTOR shall co-operate with COMPANY to ensure that the roles and responsibilities in
                        CONTRACTOR and COMPANY systems are clearly defined and allocated and are clearly
                        understood by all parties. Where appropriate, an interface document shall incorporate any specific
                        requirements relevant to the WORKSITE or platform on which CONTRACTOR will perform the
                        WORK.


                 4.0    COMPLIANCE

                        4.1   CONTRACTOR shall observe and comply with all relevant and current applicable statutory
                              requirements, approved codes of practice, and industry guidance on HSSE matters.

                        4.2   CONTRACTOR shall observe and comply with all relevant and current COMPANY standards
                              and expectations on HSSE matters and which are described in Clause 31 of Section 2-
                              General Conditions of Contract.



                 Halliburton Energy Services, Inc                Page 3 of26
                 PM-09-00255



CONFIDENTIAL                                                                                                        B P-HZN-MB 100022677
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 26 of 52




                                          Section 7 - Health, Safety, Security, and Environment



                 5.0    COMPETENCE ASSURANCE

                        5.1   CONTRACTOR shall have in place a competence assurance system for its personnel, the
                              scope of which will cover as a minimum:

                              5.1.1   All trade/discipline skills employed in the performance of the WORK;

                              5.1.2   Understanding of safe working practices including, without limitation,
                                      communications, permit-to-work systems, and risk assessment (including risk to the
                                      environment); and

                              5.1.3   A means of confirmation that the system is effective and verification that all
                                      personnel are covered and have been assessed for competence.

                        5.2   COMPANY has the right to object to and require CONTRACTOR to remove from the
                              performance of the WORK any personnel who, in the opinion of COMPANY, misconduct
                              themselves or are incompetent or negligent in the proper performance of their duties and
                              such personnel shall not be employed again in the WORK or any other WORK of COMPANY
                              without COMPANY's approval.


                 6.0    REPORTING

                        6.1   CONTRACTOR shall submit a formal report quarterly which summarizes CONTRACTOR's
                              and SUBCONTRACTOR's HSSE performance in the preceding reporting period with regard
                              to WORK performed on behalf of COMPANY. This report shall detail the following unless
                              otherwise mutually agreed:

                              6.1.1   Performance against agreed/planned HSSE targets;

                              6.1.2   All Occupational Safety and Health Administration (OSHA) recordable injuries;

                              6.1.3   All other accidents, spills or other unplanned discharges which either result in, or
                                      have potential for, significant injury/damagelloss or are reportable to a statutory
                                      authority;

                              6.1.4   All near miss incidents which have potential for injury/damage/loss;

                              6.1.5   The issue or proposed issue of an Improvement or Prohibition Notice, notice of
                                      intended prosecution or other legal process;

                              6.1.6   Any other event reportable to a statutory authority;

                              6.1.7   A summary of monitoring activity, reviews, inspections and audits;

                              6.1.8   A summary of the status of any remedial actions; and

                              6.1.9   Estimated total working hours for CONTRACTOR GROUP personnel on the
                                      WORKSITE.

                        6.2   Notwithstanding the provision of a report, CONTRACTOR shall follow the requirements of
                              COMPANY's accident and incident reporting and investigation procedures as mutually
                              agreed.




                 Halliburton Energy Services, Inc                Page 4 of26
                 PM-09-00255



CONFIDENTIAL                                                                                                     B P-HZN-MB 100022678
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 27 of 52




                                         Section 7 - Health, Safety, Security, and Environment



                 7.0    MEDICALS, TRAINING, AND PROTECTIVE CLOTHING

                        7.1   All personnel proposed by CONTRACTOR GROUP for the WORK shall be as medically fit for
                              duty in accordance with the applicable statutory requirements.

                        7.2   All personnel proposed by CONTRACTOR GROUP shall have successfully attended fire
                              fighting and refresher courses as necessary in accordance with applicable statutory
                              requirements at a recognized and approved training centre.

                        7.3   CONTRACTOR shall, at its own expense, provide its personnel with all necessary protective
                              clothing and equipment suitable for the working conditions. Such clothing/equipment shall be
                              in accordance with applicable statutory requirements.


                 8.0    WORKING CONDITIONS

                        8.1   CONTRACTOR shall ensure that all personnel provided by CONTRACTOR GROUP on the
                              WORK shall keep all places of work as clean and tidy as is reasonably practicable under the
                              circumstances, to minimize the risk of causing injury to persons, damage to property or
                              delays in providing the WORK.

                        8.2   On completion of the WORK, CONTRACTOR shall, without delay, clear away and remove
                              from the WORKSITE all surplus materials and equipment and leave all areas in a clean and
                              tidy condition to the satisfaction of COMPANY REPRESENTATIVE.


                 9.0    PORTABLE AND TRANSPORTABLE EQUIPMENT

                        9.1   CONTRACTOR shall observe and comply with COMPANY's procedures with regard to the
                              selection, deployment, operation, and maintenance of equipment except where
                              CONTRACTOR procedures are fully documented and applicable.

                        9.2   CONTRACTOR is responsible for ensuring that all equipment is operated in accordance with
                              safe working practices.

                        9.3   Location of equipment at the WORKSITE shall be agreed in advance with COMPANY
                              REPRESENTATIVE.


                 10.0 HSSE PLAN

                        10.1 CONTRACTOR shall prepare a plan for the management of all aspects of the WORK, known
                             as the "HSSE Plan". The HSSE Plan shall address the requirements of these HSSE
                             provisions, including the requirements of the HSSE management system and the SMS
                             (Safety Management System) and EMS (Environmental Management System) interface
                             document where appropriate.       The HSSE Plan shall be submitted to COMPANY
                             REPRESENTATIVE for review and endorsement in a time frame as agreed with COMPANY.

                        10.2 CONTRACTOR shall develop and agree with COMPANY REPRESENTATIVE, performance
                             measures that indicate that the HSSE Plan is being implemented.

                        10.3 The HSSE Plan shall form part of the CONTRACT. It shall be reviewed at least annually and
                             updated as necessary to incorporate any changes to the WORK and/or CONTRACT.




                 Halliburton Energy Services, Inc              Page 5 of26
                 PM-09-00255



CONFIDENTIAL                                                                                                    B P-HZN-MB 100022679
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 28 of 52




                                         Section 7 - Health, Safety, Security, and Environment


                        10.4 The HSSE Plan shall address identification of HSSE risks associated with the WORK and
                             definition of methods of controlling those risks to an acceptable level.

                        10.5 The HSSE Plan shall include details of the proposed method of auditing the effectiveness of
                             CONTRACTOR's HSSE management system as applied to the WORK.


                 11.0 HSSE PERFORMANCE STANDARDS

                        11.1 When working at a WORKSITE owned or controlled by COMPANY, all personnel provided by
                             CONTRACTOR GROUP shall comply with all current and relevant COMPANY HSSE
                             practices as they relate to the WORK. At other WORKSITEs, CONTRACTOR and
                             COMPANY shall agree which of COMPANY's HSSE practices are appropriate to the WORK
                             and will be addressed in the SMS and EMS interface document. Where necessary and
                             appropriate, CONTRACTOR shall seek advice from COMPANY on the interpretation of
                             COMPANY's HSSE practices.
                        11.2 CONTRACTOR shall, where appropriate, refer to COMPANY's "Getting HSSE Right" and
                             associated HSSE standards as a guide in the management of technical integrity as relevant
                             to the WORK.



                 12.0 WASTE DISPOSAL AND ENVIRONMENTAL SAFEGUARDS

                        In the performance of the WORK, CONTRACTOR shall at all times:

                        12.1 Observe and comply with all laws and regulations concerning the production, carrying,
                             keeping, treating and/or disposal of waste;

                        12.2 Act to minimize the quantity of wastes;

                        12.3 Be responsible for and ensure the environmentally acceptable handling, storage, treatment,
                             transportation, and disposal of its own wastes, in accordance with above guidelines, except
                             when otherwise agreed to be handled and disposed of by COMPANY; and

                        12.4 If required by law, CONTRACTOR shall register as a Registered Waste Broker or a Licensed
                             Waste Manager.


                 13.0 REFERENCE DOCUMENTS

                        In the performance of the WORK, CONTRACTOR shall refer to and observe the following HSSE
                        reference documents attached hereto:

                           •     BP HSSE Expectations - Getting HSSE "Right"

                           •     BP's Golden Rules for Safety

                           •     Scope specific HSSE Reference Documents

                           •     Location specific HSSE Policies and requirements




                 Halliburton Energy Services, Inc               Page 6 of26
                 PM-09-00255



CONFIDENTIAL                                                                                                   B P-HZN-MB 100022680
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 29 of 52




                                                              Section 7 - Health, Safety, Security and Environment
                                                           Appendix 1 - BP's HSSE Expectations "Getting HSSE Right"


                                                   APPENDIX 1 - BP's HSSE EXPECTATIONS - GETTING HSSE RIGHT


                                          BP's HSSE Expectations comprises 13 primary Units as highlighted below


                 Leadership and Accountability                                                                          People, Training and Behaviors

                 People at all levels in the BP organization are responsible                                            People's behavior is critical tc BP's success;
                 for leading and engaging the workforce in meeting our                                                  therefore, our workforce will be carefully selected
                 health, safety, technical integrity and environmental goals                                            and trained, and their skills and competencies
                 and objectives. Leaders will be held accountable for                                                   regularly assessed.
                 accomplishing this by demonstrating correct HSSE
                                                                                                                        Expectations'
                 behaviors, by clearly defining HSSE roles and
                 responsibilities, by prOViding needed resources, and by                                                      Employees and contractors practice, encourage, and reinforce
                 measuring, reviewing. and continuously improving our                                                         safe, healthy, and enVIronmentally sound behaviors
                                                                                                                              HSSE roles, responSibilities. and accountabilities are developed
                 HSSE performance.                                                                                            and used to define individual performance targets. These are
                                                                                                                              documented, gnd feedback on personal perfonmance is
                 Expectations                                                                                                 provided
                                                                                                                              Recruitment, selection, and placement processes ensure that
                        Leaders model postive HSSE behaviors by personal example boto on                                      personnel are qualified, competent, and physically and memally
                        and off the job, and reinforce and reward positive behaviors                                          fil for their 3ssigned tasks.
                        Leaders e1g3Ge in clear tWQ-\Nay commun,catlon With emplayees,                                        BP's workforce has the required skills and training to
                        contractors and others on HSSE issues                                                                 competently perform their casks in a healthy, safe, and
                        Leaders integrate t~e HSSE Expectations Into business plannirg and                                    envirmmentally sound manner           Training is evaluated to
                        decision making processes, ensuring that docume:1ted sys:ems are In                                   determine its effectiveness
                        place to deliver these Expectations                                                                   With employees' involvement, physical, chemical, biological.
                        Leaders establish clear HSSE goals and ob;ectives, roles and                                          ergonorn ic, and psychological health hazards a'e identified and
                        le~f.JUfl::ijtJjlitie:s,   pel rUI fflallGe   fH::aSUles   dflU   diluG::I.le   (JufflpetellL         the ris,s managed in the worKpiace
                        resources and, where necessary, special:st expertise                                                  Each workSite has access to an appcopriate level of medical
                        HSSE Management systems are developed, documented, implemented,                                       support and to resourceslFacilities that promote health and
                        and supported throughout the organization        These address oealth,                                wellness
                        saFety. techrical integnty, environrclental. security, product and                                    A program IS in place to ensure that the performance of our
                        operatjo~al risks in accordance With the appropriatE' Expectations                                    workforce and others on our premises IS not Impaired oy drugs
                        Leaders HSSE performance is assessed against their annual obJectives,                                 or alcohol
                        based on feedback From line management, peers, and others In the                                      New or transferred employees, contractors and other visit:ng
                        Business Unit                                                                                         personnel undergo appropriate site orientationflnduction
                        Leaders integrate Group HSSE targets into their business activities                                   trarning which covers HSSE rules and emergency procedures
                        (These include, tor example, external verifications, climate change
                        sustainable development, biodiversity, acd emissions reductions.)
                        Leaders promote the shanng of HSSE lessons learned inside and outside                           Working with Contractors and Others
                        their Business Unit


                                                                                                                        Contractors, suppliers and others are key to our
                 Risk Assessment and Management
                                                                                                                        Group business performance and we will assess
                                                                                                                        their capabilities and competencies to perform
                 Management of risk is a continuous process and the                                                     work on our behalf. We will work together vvith
                 cornerstone of all the HSSE Elements. We will regularly                                                them to ensure our HSSE Expectations are
                 identify the hazards and assess the risks associated with                                              aligned. We will monitor contractors' and partners'
                 our activities. We will take appropriate action to manage                                              performance and ensure our procurement
                 the risks and hence prevent or reduce the impact of                                                    processes contain the rigor to deliver our
                 potential accidents or incidents.                                                                      Expectations.
                 Expectations                                                                                           Expectations'

                        Leaders put into place and promote the use of processes to identify                                   Pre-qualification, seleelion and retenticn criteria are established
                        hazards associated with BF's activities, cssess risks, centrol the hazards.                           for work performed by contractors, suppliers, and others,
                        and manage the risks to acceptable eve Is                                                             including a systerr for assuring their compliance
                        Potential hazards and risks to personne:, facilities, the public, customers                           Hazards and risks associa:ed with contractor and procurenent
                        and the environment are assessed for existing operations, prodJcts                                    activ:ties in our businesses are identified, managed, and
                        business developments, acquisitions, modif:cations, new projects.                                     commJnjcated
                        closures, divestments and decommissiorings                                                            Interfaces between BP and seJppliers 01 services and products
                        Assessed risks are addressed by levels of management appropriate to                                   are identified and effectively managed
                        the nature and llagnltude of the risk ~ecisions are clearly documented                                Clear deliverables and performance standards are agreed to
                        and resulting actions implenented ,crough local procedures                                            and systems are put in p:ace to assure HSSE ard technical
                        Risk assessments and risk ~anaget:1ent/control measures are                                           compliance
                        referenced in pmject approval documentation                                                           Purchased products and services are, where possible, verified
                        Risk assessments are updated at specif:ed intervais and as changes are                                as neeting        national/incernational health,      safety,   and
                        planned                                                                                               environ mental standards
                                                                                                                              Joint venture and alliance partners have HSSE managenent
                                                                                                                              systems that are aligned With those of BP, meet legal




                 Halliburton Energy Services, Inc                                                         Page 7 of26
                 PM-09-00255



CONFIDENTIAL                                                                                                                                                                     BP-HZN-MBI00022681
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 30 of 52




                                                     Section 7 - Health, Safety, Security and Environment
                                                  Appendix 1 - BP's HSSE Expectations "Getting HSSE Right"

                        compliance requirements and satisfy the Group's Expectations and                        Risks introduced by simultaneous operat:ons 13 are assessed
                        targets.                                                                                and managed
                                                                                                                HSSE impacts assoc:ated with waste, emissions, noise,
                                                                                                                biodiversity and energy use are monitored and minimized
                                                                                                                Comprehensive waste management programs are in place to
                 Facilities Design and Construction                                                             ensure that wastes are minimized, re-used, recycled, or
                                                                                                                properly disposed of
                                                                                                                Decommissioning, remedation, and restoration plans are
                 New facilities and modifications to existing facilities will be                                establisned using risk-based studies for end of life9
                                                                                                                equipment/facilities.
                 designed, procured, constructed, and commissioned to                                           A quality assurance programmed exists to ensure that
                 enable safe, secure, healthy, and environmentally sound                                        equipment replacement oc modification maintains operations
                                                                                                                in+egri:y
                 performance throughout their operational life, by using
                 recognized standards, procedures, and management
                 systems                                                                                  Management of Change
                 Expectations

                        Baseiine technioal, environmental and health data are collected before            All temporary and permanent changes to
                        the development Of any new operation, facility, oc major modification
                        FaCIlities are designed and constcucted uSing teohnology which balances           organization, personnel, systems, procedures,
                        commercial risks and financial benefits to manage technical risk and              equipment, products, materials, or substances will
                        minimize or eliminate emissions, discharges, impacts on biodiversity, and         be evaluated and managed to ensure that health,
                        other environmental impacts
                        Project management systems and procedures addreSSing technical                    safety and environmental risks arising from these
                        integrity and HSSE accoJntabilities are documented and weil understood            changes remain at an acceptable level. We will
                        Design, procurement, and construction standards are formally approved             comply with changes to laws and regulations and
                        by the designated technical/enginee;ing authority. Formal design review,
                        verification, an:! validation stJdies are carried out based on risk               take account of new scientific evidence relating to
                        assessment                                                                        HSSE effects.
                        Operational, maintenance and HSSE expertise are integrated early in the
                        projectidesign stage     Exr:erience from pcevious projects and current           Expectations'
                        operations are applied
                        Potential hazards are identified and HSSE risks assessed using                          The health safety, security, environmental, technical, and ether
                        appropriate risk assessment taols (e.g. quantified risk assessments,                    impacts of teMporary and permanent cranges are formally
                        HAZOPS, and HSSE reviews) at specific stages of a project from cor.cept                 assessed, managed, documented, and approved
                        through to star:-up, and risks ace mitigated through risk management                    Changes in legal and reguatory reqUirements, technical codes
                        techniQues                                                                              and knowledge of health and environmental effects, are tracked
                        Deviations from cesign standards are identified and managed at an                       and appropriate changes implemented
                        appropriate level, with the reasons docuClented and retained                            Effects of change on the workforce/organization, inclu:!:ng
                        Local regulatory requiretnents are met or exceeded. VVhere tilese are                   training reqUirements, are assessed and managed
                        absent or inadequate, standards are set that pro;ect people and the                     The impact on product quality of changes in manufactur:ng
                        environment                                                                             processes is assessed, associated hazards are evaluated, and
                        Quality assurarce and inspection systems are in place to ensure that                    risks are contcolled
                        facilities meet design and procurement specifications and that                          The original scope and ducation of temporary changes are not
                        construction is in accordance vlith approved standards                                  exceeded Without review and approval
                        Documented pre-startup reviews are carried out for all newly ins13l1ed or
                        modified equipment to confirm that construction IS In accordance with
                        design, ali required verification testing is complete and aDceptable, and all
                        recommendations/deviations are closed and approved by the designated
                                                                                                          Information and Documentation
                        technical autnority

                                                                                                          We will maintain accurate information on our
                 Operations and Maintenance                                                               operations and products It will be held securely
                                                                                                          yet readily available.
                 Facilities will be operated and maintained within the                                    Expectations'
                 current design envelope to ensure safe, secure, healthy,
                                                                                                                A system is in place to secJrely manage draWings, design data.
                 and environmentally sound performance.                                                         and other documentaton including definition Of responsibilities
                                                                                                                for rr'alntainlng thiS :nformation
                 Expectations                                                                                   Applicable regulations, permits, codes, standards, and
                                                                                                                practices are identified. The resultan: "perating requirements
                        Post-startup reviews are carried out for all newly installed or modified                are documented and comrrunicated to the \vorkforce
                        equipment to confirm that construction is in accordance with deSign, all                Pertinent records are mantained, available and retained as
                        required verification :esting is complete and acceptaole, and all                       necessary Obsolete jocL:mertatlon IS Identified and removed
                        recommendations/deviations are closed and approved by the designated                    from circulation
                        technical autnorlty                                                                     Scope and format of techncal documentation will be agreed for
                        Applicable re~ulatory requirements are rret or exceedec and                             each facility and wi!1 form part of tre design input for new
                        operational.~echnical/mechanical integrity IS maintained by use of clearly              facilities and modifications
                        defined ard documented operationa:, maintenance, inspection, and                        Employee heatth, Medical and occupaTIonal exposJre records
                        comosion control systems                                                                are maintained with appropriate confidentiality and retained as
                        Key operating parameters are establiShed and reguarly monitored The                     necessary
                        workforce understands treir roles and responSibilities to m3intaln
                        operations within these parameters
                        Clearly defined start-up, operating, ma:ntenance, and shutdown
                        procedures are in olace with designated authorities identified (e 9 permit
                        to work, hand-over, equipment and process isolation. etc)
                        Equipment that has been out of service for maintenance or modification is
                        subject to documented inspecl!on and testing prior to use                         Customers and Products
                        Reliability and availability of protective systems are rraintained by
                        appropriate testing and Maintenance programs, Including management of
                        temporary disarl1in~ or deactivation




                 Halliburton Energy Services, Inc                                           Page 8 of26
                 PM-09-00255



CONFIDENTIAL                                                                                                                                                     B P-HZN-MB 100022682
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 31 of 52




                                                    Section 7 - Health, Safety, Security and Environment
                                                 Appendix 1 - BP's HSSE Expectations "Getting HSSE Right"

                 We will assess, manage, and communicate the hazards                                          EqUipment, facilites and personnel needed lor emergency
                                                                                                              response are Identifiec, tested and available
                 associated with BP's products. We will communicate up-                                       Personnel are traned and understand emergency plans, ;heir
                 to-date information to help users and others handle our                                      roles and responsibilities, and the use of crisis 'Tlanagement
                 products in a safe and envi ron mentally responsible                                         tOOlS and resources
                                                                                                              Drills and exercises are conducted to assess and improve
                 manner.                                                                                      emergency response/crrsis management capabilities, including
                                                                                                              liaison with and involyeme~t of external organizations
                 Expectaticns                                                                                 Periodic updates of plans and training are used to incorporate
                                                                                                              lessons learned from previous iClcidents and exercises.
                        Assessments are condJcled for revv products prior to marketing or
                        dlstnbLtlon. to Idertlfy health. safety and enVIronmental hazards and risks
                        associated with nornal use and foreseeable misuse
                        Periodic reassesSITents are c::mducted for all manufactured and re-
                                                                                                        Incidents Analysis and Prevention
                        branded products and intermediate streams. This includes a review of
                        adverse e=t"ects reported or experien:)€d      by those handling these
                        products                                                                        Incidents will be reported, investigated, and
                        New uses or markets for existing products are evalualecl to ensure that         analyzed to prevent recurrence and improve our
                        health, safety and environmental hazards and risks are identified and
                        addressed
                                                                                                        performance. Our investigations will focus on root
                        Recorcs of assessment, t:ackground mformatlon, and conclUSions are              causes and/or system failures. Corrective actions
                        kept up-la-date throughout the prodL;Ct'S life and retaned as appropriate       and preventive measures will be utilized to reduce
                        Up-to-date information on health, safety and env'ronmental hazards and
                        nsks relating to the use, storage, handling, transport, and disposal of our
                                                                                                        future injuries and losses.
                        products is available to the workforce, customers and others Material
                        Safety Data Sheets (MSDS), labels and other information are developed           Ex~ectations:
                        and issued to handlers and users in accordance with legislative and
                        customer requirements, anc as information changes                                     All   health, safety,     technical   integrity,  security. and
                        A system exists to collect and review adverse effects reported or                     envlro:1mental incider;ts, Including near miSSES, are openly
                        expenenced by those handling our products Gauses for concern are                      reported, investigated, analyzed, and dooumented
                        identified and actions are ta~en                                                      Major incidents are investigated by a multi-function/level team
                        An effective recall systeTJ exists for products where a defed eouid give              with participation and leadership from outside the Business
                        nse to ~ealth, safety, or environmental hazards                                       Unit
                        A system is In place to respond on a 24-hour basis to emergency                       Incident investiga:ions, including identification of root causes
                        requests for product heath, safety, and envlronmentallnformatloll                     and preventive actions, are dccumented and closed-ouI
                                                                                                              Infonmation gathered fromnCident investigations is analyzed to
                                                                                                              identify and monitor trends and develop orevention programs
                 Community and Stakeholder Awareness                                                          Lesso'1s learned from investigations are shared across BP and
                                                                                                              personnel take appropriate action UPOIl receipt of such
                                                                                                              jn~armation

                 We value the importance of community awareness and                                           Mutual sharing of lessons learned and good practice IS
                                                                                                              encouraged within the wider energy and chemical industry
                 will actively engage in dialogue with various stakeholders
                 to maintain public confidence in the integrity of our
                 operations and products and our Commitment to HSSE                                     Assessment, Assurance and Improvement
                 Performance.
                 Expectations
                                                                                                        We will periodically assess the implementation of
                                                                                                        and compliance with these Expectations to assure
                        Open and proactive communications are established and maintained with           ourselves and stakeholders that management
                        employees, contractors, regula:ory ageccies, pL;blic organizations, and
                        communities regarding the HSSE aspects of our bUSiness                          processes are in place and working effectively.
                        BP recognizes and responds to government alld community HSSE                    This will involve bothnternal self-assessments,
                        related Expectations and concerns about cur operations and our                  and appropriate external assessments. We will
                        products
                        HSSE impacts of new business development on local communities are               use this information to improve our performance
                        openly assessed, comnunicated, and rntegrated Into the bUSiness case            and processes.
                        HSSE impacts of any dvestment or decommiSSioning on existing
                        operations, nelQhbors, or local community (originally identified during the     Expectations
                        nf!.N busilless development stage) are reviewed, communicated, and
                        maraged                                                                               HSSE performance indicators (both inputs and outcomes) are
                        Major bus ness operations periocically issue an extenally verified                    established, communicated, and understood throughout the
                        ~Iatement relating Ie HSSE performance and programs                                   organizaticn
                                                                                                              The workforce is actively involved in periodic seW-assessmects
                                                                                                              of the effectiveness of proGesses and procedures to meet the
                 Crisis and Emergency Management                                                              HSS" Expectations
                                                                                                              HSSE performance Indicators are reguiarly used to determ,ne
                                                                                                              when aCld what management system changes are necessary
                 Emergency management plans will be maintained to                                             When changes occur in one HSSE Element the impact on the
                                                                                                              ent,re management system is evaluatad
                 cover all of our facilities, locations, and products. These                                  A system exists to continually improve HSSE behaviors throcgh
                 plans will identify equipment, training, and personnel                                       observatian, recording anc coaching
                                                                                                              A dooumented, risk-based audit programmed exists to
                 necessary to protect the workforce, customers, public,
                                                                                                              periodically evaluate progress towards HSSE targets,
                 environment. and BP's reputation in the event of an                                          regulatorl compliance, aCld the effectiveness of the Business
                 incident.                                                                                    Unit rnanagenent system(s)
                                                                                                              The Business Unit. in co-operation with tre audit team plans
                 Expectations                                                                                 audits, which are objective and systematic          These are
                                                                                                              documented and conducled using expertise from inside and
                        Emergency mallagement plans are based on the risks It-'at potentially                 outside the unit
                        impact the business. These plans are documented, acoessible, clearly                  Findings froO"! learning processes (e g audits InCident
                        communicated, and align to the 3P Group's emergency management                        investigations, near misses, HAZOPS, etc.) are priOritized,
                        system                                                                                tracked and used to systematicaly improve the            HSSE
                                                                                                              management system




                 Halliburton Energy Services, Inc                                         Page 9 of26
                 PM-09-00255



CONFIDENTIAL                                                                                                                                                   B P-HZN-MB 100022683
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 32 of 52




                                                    Section 7 - Health, Safety, Security and Environment
                                                 Appendix 1 - BP's HSSE Expectations "Getting HSSE Right"

                        The Business Unit leadership team reviews the management system to
                        ensure it is continually delivering consistent, des red performance. Based
                        on the review new risk-based targets are oonsidered and established
                        wherever necessary.
                        Business Units report HSSE performance data, as part of the Group's
                        HSSE Reporting Requirements
                        A process is in place whereby assurance :s regularly provided to the
                        Group Chief Executve demonstrating effective implementation of the BP
                        HSSE Commitment and Expectations Annual self-assessments against
                        these Expectations are carried out by each Business Jnit. alO1g with
                        external audits at least every three years




                 Halliburton Energy Services, Inc                                       Page 10 of 26
                 PM-09-00255



CONFIDENTIAL                                                                                                BP-HZN-MB 100022684
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 33 of 52




                                            Section 7 - Health, Safety, Security and Environment
                                                       Appendix 2 - BP Golden Rules



                 APPENDIX 2- THE GOLDEN RULES FOR SAFETY


                 COMPANY's safety policy states no harm to people and no accidents. Everyone who works for or on
                 behalf of COMPANY is responsible for their safety and the safety of those around them.

                 The following safety rules will be strictly enforced to ensure the safety of our people and our communities.

                 COMPANY's senior leadership are accountable for communicating, training, implementing, and auditing
                 these rules to assure compliance and performance.

                        Although embedded in each of these rules, it is important to emphasize that:

                            •   Work will not be conducted without a pre-job risk assessment and a safety discussion
                                appropriate for the level of risk.
                            •   All persons will be trained and competent in the work they conduct.
                            •   Personal protection equipment will be wom as per risk assessment and minimum site
                                requirements.
                            •   Emergency response plans, developed from a review of potential emergency scenarios, will
                                be in place before commencement of work.
                            •   Everyone has an obligation to stop work that is unsafe




                 Are you trained and competent to perform this work?
                 You have an obligation to stop the work if it's unsafe.




                 Halliburton Energy Services, Inc                Page 11 of 26
                 PM-09-00255



CONFIDENTIAL                                                                                                        B P-HZN-MB 100022685
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 34 of 52




                                          Section 7 - Health, Safety, Security and Environment
                                                     Appendix 2 - BP Golden Rules

                 1.0    PERMIT TO WORK

                        Before conducting work that involves confined space entry, work on energy systems, and ground
                        disturbance in locations where buried hazards may exist. or hot work in potentially explosive
                        environments, a permit must be obtained that:

                            •   defines scope of work
                            •   identifies hazards and assesses risks
                            •   establishes control measures to eliminate or mitigate hazards
                            •   links the work to other associated work permits or simultaneous operations
                            •   is authorized by the responsible person(s)
                            •   communicates above information to all involved in the work
                            •   ensures adequate control over the return to normal operations


                 2.0    ENERGY ISOLATION

                        Any isolation of energy systems; mechanical, electrical, process, hydraulic and others, cannot
                        proceed unless:

                            •   the method of isolation and discharge of stored energy are agreed and executed by a
                                competent person(s)
                            •   any stored energy is discharged
                            •   a system of locks and tags is utilized at isolation points
                            •   a test is conducted to ensure the isolation is effective
                            •   isolation effectiveness is periodically monitored


                 3.0    GROUND DISTURBANCE

                        Work that involves a manmade cut, cavity, trench, or depression in the earth's surface fonmed by
                        earth removal cannot proceed unless:

                            •   a hazard assessment of the work site is completed by the competent person(s)
                            •   all underground hazards, i.e., pipelines, electric cables, etc., have been identified, located
                                and if necessary, isolated


                 4.0    WHERE PERSONS ARE TO ENTER AN EXCAVATION

                        A confined space entry permit shall be issued if the entry meets the confined space definition
                        ground movement is controlled and collapse is prevented by systematically shoring, sloping,
                        benching, etc., as appropriate ground and environmental conditions are continuously monitored for
                        change.


                 5.0    CONFINED SPACE ENTRY

                        Entry into any confined space cannot proceed unless:

                            •   all other options have been ruled out
                            •   permit is issued with authorization by a responsible person(s)
                            •   permit is communicated to all affected personnel and posted, as required



                 Halliburton Energy Services, Inc               Page 12 of 26
                 PM-09-00255



CONFIDENTIAL                                                                                                        B P-HZN-MB 100022686
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 35 of 52




                                           Section 7 - Health, Safety, Security and Environment
                                                      Appendix 2 - BP Golden Rules


                            •   all persons involved are competent to do the work
                            •   all sources of energy affecting the space have been isolated
                            •   testing of atmospheres is conducted, verified and repeated as often as defined by the risk
                                assessment
                            •   stand-by person is stationed
                            •   unauthorized entry is prevented


                 6.0    WORKING AT HEIGHTS

                        Working at heights of 2 meters (6 feet) or higher above the ground cannot proceed unless:
                        a fixed platform is used with guard or hand rails, verified by a competent person(s) or
                        fall arrest equipment is used that is capable of supporting at least a 2275 kg (5000 Ibs) static load
                        per person and has:

                            •   a proper anchor mounted, preferably overhead
                            •   full body harness using double latch self locking snap hooks at each connection
                            •   synthetic fiber lanyards
                            •   shock absorber
                            •   fall arrest equipment will limit free fall to 2 meters (6 feet) or less
                            •   A visual inspection of the fall arrest equipment and system is completed and any equipment
                                that is damaged or has been activated is taken out of service.
                            •   person(s) are competent to perform the work

                 7.0    LIFTING OPERATIONS

                        Lifts utilizing cranes, hOists, or other mechanical lifting devices will not commence unless:

                            •   an assessment of the lift has been completed and the lift method and equipment has been
                                determined by a competent person(s)
                            •   operators of powered, lifting devices are trained and certified for that equipment
                            •   rigging of the load is carried out by a competent person(s)
                            •   lifting devices and equipment has been certified for use within the last 12 months (at a
                                minimum)
                            •   load does not exceed dynamic and/or static capacities ofthe lifting equipment
                            •   any safety devices installed on lifting equipment are operational
                            •   all lifting devices and equipment have been visually examined before each lift by a
                                competent person(s)

                 8.0    DRIVING SAFETY

                        All categories of vehicle, including self-propelled mobile plant, must not be operated unless:

                            •   the vehicle is fit for purpose, inspected and confirmed to be in safe working order,
                            •   number of passenger does not exceed manufacturer's design specification for the vehicle,
                            •   loads are secure and do not exceed manufacture's design specifications or legal limits for
                                the vehicle,
                            •   seat belts are installed and worn by all occupants,
                            •   safety helmets are worn by riders and passengers of motorcycles, bicycles, quads, snow-
                                mobiles and similar types of vehicle.
                            •   Drivers must not be authorized to operate the vehicle unless:
                            •   they are trained, certified and medically fit to operate the class of vehicle
                            •   they are not under the influence of alcohol or drugs, and are not suffering from fatigue



                 Halliburton Energy Services, Inc                Page 13 of 26
                 PM-09-00255



CONFIDENTIAL                                                                                                            B P-HZN-MB 100022687
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 36 of 52




                                         Section 7 - Health, Safety, Security and Environment
                                                    Appendix 2 - BP Golden Rules


                           •   they do not use hand-held cell/mobile phones and radios while driving (best practice is to
                               switch off all phones and two-way radios when driving)

                 9~     MANAGEMENTOFCHANGE

                        Work arising from temporary and permanent changes to organization, personnel, systems, process,
                        procedures, equipment, products, materials or substances, and laws and regulations cannot
                        proceed unless a Management of Change process is completed, where applicable, to include:

                           •   a risk assessment conducted by all impacted by the change
                           •   development of a work plan that clearly specifies the timescale for the change and any
                               control measures to be implemented regarding:
                           •   equipment, facilities and process
                           •   operations, maintenance, inspection procedures
                           •   training, personnel and communication
                           •   documentation
                           •   authorization of the work plan by the responsible person(s) through completion




                 Halliburton Energy Services, Inc             Page 14 of 26
                 PM-09-00255



CONFIDENTIAL                                                                                                   B P-HZN-MB 100022688
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 37 of 52




                                            Section 7 - Health, Safety, Security and Environment
                                           Appendix 3 - Drug, Alcohol Standard and Expectations



                 APPENDIX 3 - SUBSTANCE ABUSE POLICY (USA)


                 COMPANY has a strong commitment to provide a safe work place for its employees and other persons
                 working or visiting on its premises and working on its projects. In order to assist in maintaining a safe
                 working environment, and to protect COMPANY property, this Policy concerning substance abuse is
                 established.

                 CONTRACTORs, SUBCONTRACTORs, and vendors who perform labor or services on COMPANY
                 WORKSITEs or premises, on COMPANY Projects, or on whose premises COMPANY employees
                 spend substantial time, must have and administer a formal substance abuse interdiction policy.
                 CONTRACTOR's policy, at a minimum, must include substance testing of CONTRACTOR's
                 employees entering COMPANY WORKSITEs or premises or working on COMPANY Projects,
                 consistent with the terms of this Policy.

                 For the purpose of this Policy, a "COMPANY Project" refers to any work performed under the Section 3 -
                 "Scope of Work" provision of the applicable contract between COMPANY and CONTRACTOR.

                 The failure of a CONTRACTOR to comply with the provisions of this policy constitutes cause for
                 termination subject to the provisions of this CONTRACT.

                 SECTION 1- POLICY STATEMENT

                 The use, possession, concealment, transportation, promotion, or sale of the following substances is
                 strictly prohibited on COMPANY premises, including all property owned, operated, leased by, or under the
                 control of COMPANY, as well as on the location of any authorized COMPANY Project, regardless of the
                                                                 1
                 physical location where such work is performed.

                        • Prohibited substances are defined as: (a) any alcoholic beverage, the use of which is not
                          authorized by the COMPANY, (b) any substance that an individual may not sell, possess, use, or
                          distribute under the laws of the state in which the individual is employed or is working, and (c) any
                          otherwise legal but illicitly-used substances.

                        • "Otherwise legal but illicitly-used substances" include (a) prescription drugs obtained without
                          proper medical authorization, and (b) prescribed drugs, over-the-counter drugs, and other
                          substances not being used for their intended purposes or at intended dosage .

                        • Drug paraphernalia and similar items used for substance abuse are likewise prohibited on
                          COMPANY premises.

                 CONTRACTORs shall submit a copy of their policy and program to the COMPANY employee designated
                 to administer contracts, or to such other individual as may hereafter be designated by COMPANY. Such
                 policy must provide for substance testing of employees, and must meet the minimum standards as set
                 forth in Section II below. COMPANY reserves the right to prohibit solicitation of bids from, deny entry to
                 COMPANY premises to, or cancel any project, or portion thereof, with, any CONTRACTOR that fails to
                 present a written policy that meets COMPANY's minimum standards, or that fails to administer an
                 acceptable policy.




                 1111 many contracts, CO}v1PANY reserves the right to remove a CONTRACTOR's employees/or any reason. In no way does this
                 policy detractfrom that right.



                 Halliburton Energy Services, Inc                    Page 15 of 26
                 PM-09-00255



CONFIDENTIAL                                                                                                                  B P-HZN-MB 100022689
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 38 of 52




                                           Section 7 - Health, Safety, Security and Environment
                                          Appendix 3 - Drug, Alcohol Standard and Expectations

                 Any CONTRACTOR employee found to be in violation of this Policy shall, thereafter, be prohibited from
                 entering COMPANY premises and prohibited from working on any COMPANY Project. Reinstatement of
                 the access privilege may be made after one year upon request of the employing CONTRACTOR. Such
                 requests will be evaluated on the merits of each case. A request will be granted only upon receipt of
                 evidence that the employee successfully passed a substance screen conducted within not more than
                 thirty (30) days prior to the date of the request, successfully completed an assessment by a Substance
                 Abuse Professional (,SAP") and complied with all recommended treatment or rehabilitation prescribed by
                 the SAP.

                 SECTION II - TESTING

                        A.   DEFINITIONS

                             Forthe purpose of this policy:

                             1.   "Substance testing" means the analysis of urine, saliva, or breath; however, at times
                                  circumstances may warrant additional testing methods.

                             2.   "Chain of custody" means the combination of procedures and documentation that provides
                                  a faithful and accurate written record of the custody of a biological specimen, from time of
                                  initial collection of a specimen, to final laboratory analysis.

                             3.   "Negative test result" means a laboratory conclusion that the presence of a substance was
                                  not detected in a specimen at or above the screening and confirmation levels utilized.

                             4.   "Screened positive result" means that an EMIT analysis has revealed one or more
                                  substances present at or above screening cut-off level.

                             5.   "Presumptive positive result" means a laboratory conclusion that a specimen was found to
                                  contain the presence of a substance based on one or more analytical procedures, one of
                                  which must be gas chromatography/mass spectrometry (GC/MS).

                             6.   "Confirmed positive result" means a laboratory presumptive positive result that has been
                                  confirmed as a positive substance test by a Medical Review Officer (MRO)

                        B.   LABORATORY AND SAMPLING STANDARDS

                             1.   Testing for the following substances, at the indicated screening and confirmation cutoffs,
                                  are recommended:




                                          Drug                EMIT Screen                    Confirmation Levels
                                      Amphetamines                     1000 ng                      500 ng
                                      Marijuana                           50 ng                       15 ng
                                      Cocaine                           300 ng                      150 ng
                                      Opiates                          2000 ng                     2000 ng
                                      PCP                                 25 ng                      25 ng
                                      Alcohol                            .02 BAC                     .02 BAC

                                  CONTRACTORs subject to DOT testing should abide by appropriate levels.




                 Halliburton Energy Services, Inc                Page 16 of 26
                 PM-09-00255



CONFIDENTIAL                                                                                                        B P-HZN-MB 100022690
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 39 of 52




                                           Section 7 - Health, Safety, Security and Environment
                                          Appendix 3 - Drug, Alcohol Standard and Expectations

                             2.   The specimens of applicants and current employees will be tested using an enzyme
                                  immunoassay (such as EMIT) and/or a radioimmunoassay. (Approved on-site testing is
                                  permissible.) In this testing scheme, a positive finding is called a screened positive. All
                                  screened positives will be further tested using GC/MS. In this testing scheme, a positive
                                  finding is called a presumptive positive. All presumptive positives will undergo MRO
                                  review.

                             3.   Alcohol screening testing may include utilization of either breath or saliva testing. Tests,
                                  which are screened positive, will undergo confirmation via the use of an evidential-quality
                                  breathalyzer for confirmation of positive alcohol test results. MRO review is not required
                                  for positive alcohol test results, unless otherwise required by applicable local, state, or
                                  federal law

                        C.   CONFIDENTIALITY

                             When a CONTRACTOR conducts drug testing of its employees in order to establish eligibility to
                             enter COMPANY premises or work on COMPANY Projects, such substance testing results that
                             are positive will not be individually disclosed to COMPANY. COMPANY will require, however,
                             that CONTRACTORs certify that each employee assigned to work on COMPANY premises or
                             on COMPANY Projects has passed a substance test that meets the standards of this Policy.
                             CONTRACTORs must maintain records related to substance tests under this Policy, which are
                             subject to audit by COMPANY as further set forth in Sections IV and VI of this Policy.

                             The results of reasonable suspicion or accident/incident investigation substance tests
                             performed by a CONTRACTOR on its employees assigned to work on COMPANY premises or
                             projects must be disclosed to local COMPANY management upon request, unless prohibited by
                             federal, state, or local law.

                        D.   TESTING

                             1.   CONTRACTORs will conduct substance testing in these situations:

                                  a.   before any CONTRACTOR employee may enter COMPANY premises or perfonm
                                       work in any COMPANY Project for the first time.

                                  b.   annual random drug testing of at least 25% of CONTRACTOR's workforce engaged in
                                       work on COMPANY premises and on any COMPANY Project; this requirement will be
                                       met if CONTRACTOR covers the applicable employees under a larger drug testing
                                       pool that is subject to annual testing of at least 25% of the pool population.

                                  c.   upon reasonable suspicion by CONTRACTOR or COMPANY that a CONTRACTOR
                                       employee on COMPANY premises, or working on a COMPANY Project, is under the
                                       influence of, or has consumed any substance or item prohibited by this policy.

                                  d.   when deSignated by COMPANY management, immediately following any incident that
                                       results in a recordable bodily injury as defined by OSHA, or damage to COMPANY or
                                       CONTRACTOR-owned property. Additionally, any substance testing, following an
                                       incident requiring DOT substance testing as regulated and described by DOT (FHA,
                                       RSPA, and USCG), must be strictly adhered to. (Note: Substance testing may also
                                       be required by CONTRACTOR or COMPANY following a near-miss incident. A near-
                                       miss incident is any incident which, if it had proceeded to a reasonably possible and
                                       more serious level of development, would have had the potential for personnel
                                       injuries, property damage, or serious liability claims).




                 Halliburton Energy Services, Inc                Page 17 of 26
                 PM-09-00255



CONFIDENTIAL                                                                                                        BP-HZN-MBI00022691
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 40 of 52




                                            Section 7 - Health, Safety, Security and Environment
                                           Appendix 3 - Drug, Alcohol Standard and Expectations

                             2.   CONTRACTORs will assume all costs associated with testing.

                             3.   The refusal of a CONTRACTOR's employee to sign a consent form or submit to any testing
                                  required by this Policy will result in revocation of the person's access privileges. A refusal
                                  to test shall include a failure to cooperate with any part of the testing process, including:
                                  (1) failing to remain until the process is completed; (2) failing to provide a sufficient or
                                  adequate specimen (without medical explanation); (3) failing to appear for testing
                                  (including failing to appear within a reasonable time after being notified of testing); (4)
                                  failing to submit to a re-collection or retesting when required; or (5) submitting a specimen
                                  that the MRO verifies as adulterated or substituted.

                        E.   EXCEPTIONS

                             The following exceptions may be granted at the discretion of COMPANY management:

                             1.   CONTRACTORs and CONTRACTORs' employees who are contracted or hired on short
                                  notice may be permitted to begin work on-site or on a COMPANY Project pending receipt
                                  of the results of pre-access substance testing. This permission will not extend beyond
                                  seven (7) calendar days from the first date after work starts by CONTRACTOR.

                                  Any person working under this provision must be removed from the work site immediately
                                  upon receipt of a positive test result, or at the end of seven (7) calendar days if test results
                                  have not been reported.

                                  This provision is to allow work to begin on emergency or short notice situations only.
                                  Testing must be done as soon as reasonably feasible, and results must be available within
                                  the seven (7) calendar days allotted. This provision covers only employees needed for
                                  immediate initial staffing and does not extend to those hired with sufficient time for pre-
                                  access testing (2-3 days after job begins).

                             2.   CONTRACTORs or vendors who have a need for site access, and whose work on a
                                  COMPANY Project poses a minimal safety risk, may be exempted by authorized
                                  COMPANY management from compliance with this Policy.

                        F.   VALIDITY PERIOD

                             A pre-access substance test must have been administered within ninety (90) days immediately
                             preceding access.    This requirement may be waived by local authorized COMPANY
                             management for persons who are regaining access after an absence of not more than ninety
                             (90) days.

                             COMPANY will recognize a substance test conducted of an employee while that employee
                             worked for a different employer if (1) the test is conducted within the 90-day period required by
                             this policy, and (2) the laboratory and sampling procedures meet the standards set forth in this
                             Policy. COMPANY prefers that the testing requirements be verified by an independent agency
                             such as CONTRACTOR's Safety Council.

                 SECTION 111- SEARCHES AND INSPECTIONS

                 COMPANY reserves the right at all times on its premises to conduct unannounced substance screens,
                 searches, and inspections of CONTRACTORs, CONTRACTORs' employees, vendors, and other
                 persons, including their effects, lockers, baggage, desks, tool boxes, clothing, and vehicles. The purpose
                 of such screens, searches, and inspections is to ensure compliance with this Policy.



                 Halliburton Energy Services, Inc                 Page 18 of 26
                 PM-09-00255



CONFIDENTIAL                                                                                                            B P-HZN-MB 100022692
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 41 of 52




                                           Section 7 - Health, Safety, Security and Environment
                                          Appendix 3 - Drug, Alcohol Standard and Expectations

                 Any controlled substances or items prohibited by this Policy, or any materials that are illegal to possess,
                 will be retained by COMPANY and may be destroyed or turned over to the appropriate law enforcement
                 agency.

                 The refusal of a CONTRACTOR's employee to submit to a search or inspection will result in the
                 revocation of the person's access privileges.

                 SECTION IV - COMPLIANCE AUDITS

                 COMPANY reserves the right to periodically audit a CONTRACTOR's records to verify compliance with
                 this Policy. Such verification will include, but not be limited to:

                        1.   examination of the CONTRACTOR's substance abuse policy and its implementing directives
                             and procedures;

                        2.   a determination that substance testing is being conducted in those situations where it is
                             required, and that the testing meets the standards of this policy;

                        3.   examination of chain of custody procedures which ensure integrity of collected specimens; or

                        4.   evaluation of laboratory services.

                 Audit results will be treated as confidential in order to protect the privacy of tested persons.

                 SECTION V - SUBCONTRACTS

                 In all cases where a CONTRACTOR is permitted to employ a SUBCONTRACTOR, the CONTRACTOR is
                 responsible for insuring that the SUBCONTRACTOR and SUBCONTRACTOR's employees are in
                 compliance with this Policy. Contracts between CONTRACTORs and Subcontractors must stipulate that
                 COMPANY reserves the right to audit SUBCONTRACTOR's substance programs.

                 SECTION VI - CONSENT FORMS

                 The CONTRACTOR must obtain a signed consent demonstrating each employee's agreement to release
                 to CONTRACTOR and COMPANY the results of any substance testing performed, unless prohibited by
                 applicable federal, state, or local law.

                 COMPANY will look at substance test results only during occasional compliance audits as described in
                 Section IV, or when testing is required by COMPANY as described in Section II.

                 SECTION VII- NOTICE

                 The CONTRACTOR must ensure that each of its employees and the employees of its
                 SUBCONTRACTORs are informed of the provisions of this Policy and of the CONTRACTOR's substance
                 abuse policy. Notice will include the consequences of failure to comply, and notice will be made prior to
                 any employees entering COMPANY premises or working on COMPANY Projects.

                 SECTION VIII- CONCLUSION

                 Consideration for work on COMPANY WORKSITE, premises or projects will be conditioned upon
                 CONTRACTOR's implementation of a policy that, in COMPANY's sole judgment, conforms to the




                 Halliburton Energy Services, Inc                 Page 19 of 26
                 PM-09-00255



CONFIDENTIAL                                                                                                        B P-HZN-MB 100022693
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 42 of 52




                                         Section 7 - Health, Safety, Security and Environment
                                        Appendix 3 - Drug, Alcohol Standard and Expectations

                 minimum standards expressed in this Policy.        Program development and implementation are the
                 responsibility of the CONTRACTOR.

                 The central goal of this Policy is to provide a safe and efficient working environment for all persons on
                 COMPANY premises, and to ensure that COMPANY Projects are performed in a safe and efficient
                 manner. Cooperation is vitally important to the achievement of this important goal.




                 Halliburton Energy Services, Inc             Page 20 of 26
                 PM-09-00255



CONFIDENTIAL                                                                                                    B P-HZN-MB 100022694
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 43 of 52




                                         Section 7 - Health, Safety, Security and Environment
                                              Appendix 4 - Scope Specific HSSE Issues



                 APPENDIX 4 - SCOPE SPECIFIC HSSE ISSUES


                 Certain specific HSSE Requirements will be specifically selected for certain CONTRACTORs dependent
                 upon scope of work and WORKSITE location. COMPANY shall advise CONTRACTOR of all that apply
                 prior to execution of CONTRACT. COMPANY and CONTRACTOR will initial all those that apply. See
                 web site for details: http://nasupplierhsse.bpglobal.com.

                 SPECIFIC HSSE REQUIREMENTS

                         1.      CONTRACTOR will have a written Waste Management plan at the COMPANY Project
                                 Site for WORK performed that, at a minimum, requires identification of waste and
                                 disposal methods.

                         2.      COMPANY requires CONTRACTOR to have an acceptable Contractor Environmental
                                 Management System (C-EMS).

                         3.      CONTRACTORs will meet or exceed BP's COMPANY Driving Standard.

                         4.      CONTRACTOR will have and apply a Fitness-for-Duty program which includes
                                 assessment of the physical capability of employees to perform certain specific tasks and
                                 a physical agility testing component (Gulf of Mexico only).

                         5.      CONTRACTOR will supply COMPANY with a valid Certificate of Recognition applicable
                                 to Province of Operation certified by Petroleum Industry Training Service (PITS) or
                                 CONTRACTOR's Service Line certifying body (Canada only).

                        6.       CONTRACTOR must have a working knowledge of the Drilling and Well Operations
                                 Policy.




                 Halliburton Energy Services, Inc             Page 21 of 26
                 PM-09-00255



CONFIDENTIAL                                                                                                   B P-HZN-MB 100022695
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 44 of 52




                                           Section 7 - Health, Safety, Security, and Environment
                                           Appendix 5 - Local HSSE Policies and Requirements


                 APPENDIX 5 - LOCAL HSSE POLICIES AND REQUIREMENTS

                 1.0    GENERAL

                        Each COMPANY Strategic Performance Unit (SPU) will have location specific HSSE documents
                        and provisions that will be included and attached to each CONTRACT detailing minimum HSSE
                        requirements for that SPU. These documents may include, but not be limited to the following
                        requirements and documents:

                            •   Safety Management System (SMS) Bridging Document;
                            •   Environmental Management System (EMS) Bridging Document; and
                            •   Vehicle and Driving Safety Policy

                        This section may also include, but is not limited to:

                            •   Radioactive Source Procedures (Mandatory for all applicable work in the US);
                            •   Offshore Working Policy;
                            •   Gulf of Mexico Safe Practices Manual (US offshore only);
                            •   COMPANY Office Policies;
                            •   Camp Rules; and
                            •   Others as required


                        Additional SPU requirements and related HSSE minimum requirements documents are as follows
                        and are found at the end of this Appendix 5:

                        Section 7, Appendix 5, Attachment 1 - BP Gulf of Mexico SPU HSSE Document




                 Halliburton Energy Services, Inc                 Page 22 of 26
                 PM-09-00255



CONFIDENTIAL                                                                                                   B P-HZN-MB 100022696
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 45 of 52




                                           Section 7 - Health, Safety, Security, and Environment
                                           Appendix 5 - Local HSSE Policies and Requirements
                                                    Attachment 1 - Gulf of Mexico SPU


                 Attachment 1 - Gulf of Mexico SPU

                 HEALTH SAFETY SECURITY AND ENVIRONMENTAL REQUIREMENTS


                 The following constitute Health, Safety, Security, and Environmental (HSSE) Requirements for
                 CONTRACTOR and any SUBCONTRACTORs performing work on COMPANY Sites (real estate owned
                 or leased by COMPANY, where COMPANY is the operator) and on COMPANY Project Sites (where work
                 is performed exclusively for COMPANy). HSSE Requirements encompass compliance with all applicable
                 federal, state/provincial, maritime, and local statutes, regulations, enforceable agreements, agency
                 orders, permits, and contract documents. HSSE Requirements also include specific COMPANY
                 requirements as disclosed below and any site-specific requirements not specified below.         Each
                 CONTRACTOR will ensure that any SUBCONTRACTOR it employs meets these HSSE Requirements.
                 CONTRACTOR will take any additional precautions necessary to prevent harm to personnel or damage
                 to the environment, property, or COMPANY's reputation.

                 CONTRACTOR's Program will strive to deliver an incident and injury-free work place and will achieve a
                 total 12-month rolling recordable incident rate (TRIR) equal to, or better than, the TRIR hurdle set by the
                 COMPANY for work conducted on COMPANY Sites and COMPANY Project Sites. COMPANY may
                 revise the hurdle rate downward annually to achieve the incident and injury-free work place objective.

                 CONTRACTOR will provide, at COMPANY's request, a monthly breakdown of hours worked and
                 miles/kilometers driven (including SUBCONTRACTORs' hours and miles/kilometers) on COMPANY Sites
                 or COMPANY Project Sites.

                 COMPANY Specific HSSE Requirements for all CONTRACTORs

                 In order to meet COMPANY's specific HSSE Requirements, CONTRACTOR will have a HSSE Program
                 with a focus on continual performance improvement (or utilize COMPANY's program). COMPANY has
                 the right to audit CONTRACTOR's HSSE Program and documents. At a minimum, the following
                 elements will be included in CONTRACTOR's HSSE Program:

                 1) Leadership

                        CONTRACTOR Leadership will actively communicate HSSE expectations and COMPANY
                        requirements, routinely monitor HSSE performance, develop action plans for continuous
                        improvement, and actively take ownership of HSSE.

                        CONTRACTOR will ensure that CONTRACTOR's employees understand COMPANY's HSSE policy
                        and comply with COMPANY's Golden Rules of Safety for work performed on COMPANY Project
                        Sites.

                 2)     Behavior Based Safety

                        CONTRACTOR will have a behavior-based safety program which, at a minimum, will include a safety
                        observation program (or utilize COMPANY's program) with performance targets. CONTRACTOR will
                        communicate to CONTRACTOR employees the expectation that everyone has an obligation to stop
                        work that is unsafe.

                        In addition, CONTRACTOR will have a hazard identification and risk assessment process for
                        completing a daily pre-job task hazard analysis and/or work permitting system to identify and control
                        the hazards to an acceptable level. At a minimum, a process for completing daily Job Safety Analysis
                        (JSA) , or Job Safety Environmental Analysis (JSEA), is required to facilitate the daily task hazard
                        analysis.



                 Halliburton Energy Services, Inc                Page 23 of 26
                 PM-09-00255



CONFIDENTIAL                                                                                                       B P-HZN-MB 100022697
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 46 of 52




                                             Section 7 - Health, Safety, Security, and Environment
                                             Appendix 5 - Local HSSE Policies and Requirements
                                                      Attachment 1 - Gulf of Mexico SPU



                 3)     HSSE Meetings

                        CONTRACTOR will conduct or take part in regularly scheduled on-site or off-site HSSE meetings
                        discussing, among other topics, facility and job hazards, incidents, near-misses, site-specific safety
                        and health rules, and site-specific procedures.

                 4)     Incident Reporting and Investigations

                        CONTRACTOR will immediately notify COMPANY of all CONTRACTOR or SUBCONTRACTOR
                        incidents resulting in personal injury, spills or releases, security issues, loss or damage to property, or
                        near-misses. COMPANY may require CONTRACTOR to conduct an investigation for any HSSE
                        incident. COMPANY retains the right to participate or conduct its own incident investigation. For all
                        incident investigations, CONTRACTOR will provide a written investigation report to the COMPANY.
                        The investigation report shall identify possible root causes associated with the incident as well as
                        proposals for corrective action. When requested, CONTRACTOR will furnish COMPANY with a copy
                        of non-privileged reports made by or on behalf of CONTRACTOR concerning an incident, including
                        any non-privileged statements or other investigative material.

                 5)     Personal Protective Equipment

                        CONTRACTOR will ensure CONTRACTOR employees have proper personal protective equipment
                        (PPE) before work begins, and that PPE is worn as required. CONTRACTOR shall obtain and
                        comply with individual site PPE requirements.

                 6)     CONTRACTOR Employee Conduct

                        CONTRACTOR shall comply fully with the Substance Abuse Policy (Section 7, Appendix 3).

                        COMPANY has the right to require CONTRACTOR to remove and bar from the COMPANY Sites or
                        COMPANY Project Sites any personnel whose conduct (condition or action) jeopardizes the safety of
                        any person. In addition, CONTRACTOR will not permit any barred person to work at any other
                        COMPANY Site or COMPANY Project Site without prior COMPANY written approval.

                 7)     CONTRACTOR Employee HSSE Competency

                        CONTRACTOR will ensure that regulatory required training for CONTRACTOR's employees has
                        been identified and completed. Competency must be demonstrated. COMPANY may require
                        reasonable additional site-specific training and documentation.

                 8)     Short Service CONTRACTOR Employee Policy

                        CONTRACTOR will comply with its own or COMPANY's site-specific short service employee policy,
                        whichever policy is more restrictive.

                 9)     Preventative Maintenance Program

                        CONTRACTOR will have a preventative maintenance program that includes, at a minimUm, the
                        identification and prioritization of maintenance for safety and/or environmental critical items.




                 Halliburton Energy Services, Inc                  Page 24 of 26
                 PM-09-00255



CONFIDENTIAL                                                                                                             B P-HZN-MB 100022698
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 47 of 52




                                           Section 7 - Health, Safety, Security, and Environment




      •
                                           Appendix 5 - Local HSSE Policies and Requirements
                                                    Attachment 1 - Gulf of Mexico SPU


                    10) Chemicals Brought to COMPANY Site

                        CONTRACTOR will ensure Material Safety Data Sheets (MSDSs) are available at the COMPANY
                        Sites and/or COMPANY Project Sites for all chemicals CONTRACTOR brings to the site, and that the
                        MSDS is reviewed as part of the JSAlJSEA discussion.

                                                                                                          CONTRACTORs
                                                                                                          site for details:




                                              CONTRACTOR will have a written Waste Management plan at the COMPANY
                                              Project Site for work performed that, at a minimum, requires identification of
                                              waste and disposal methods.


                                              COMPANY requires CONTRACTOR to have an acceptable CONTRACTOR
                                              Environmental Management System (C-EMS).



                                              CONTRACTORs will meet or exceed BP's Driving Standard.




      • D04                                   CONTRACTOR will have and apply a Fitness-for-Duty program which includes
                                              assessment of the physical capability of employees to perform certain specific
                                              tasks and a physical agility testing component.


                                              CONTRACTOR will supply COMPANY with a valid Certificate of Recognition
                                              applicable to Province of Operation certified by Petroleum Industry Training
                                              Service (PITS) or CONTRACTOR's Service Line certifying body.


                                              CONTRACTOR must have a working knowledge of the Drilling and Well
                                              Operations Policy.




      •             Halliburton Energy Services, Inc
                    PM-09-00255
                                                                 Page 25 of 26




CONFIDENTIAL                                                                                                         B P-HZN-MB 100022699
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 48 of 52




                                         Section 7 - Health, Safety, Security, and Environment
                                         Appendix 5 - Local HSSE Policies and Requirements
                                                  Attachment 1 - Gulf of Mexico SPU




                 Halliburton Energy Services, Inc            Page 26 of 26
                 PM-09-00255



CONFIDENTIAL                                                                                     BP-HZN-MBI00022700
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 49 of 52




                                                     Section 8 - Code of Conduct




                                             Section 8 - Code of Conduct
                                                 Halliburton for GOM




                 Halliburton Energy Services, Inc.           Page 1 of 4
                 BPM-09-00255



CONFIDENTIAL                                                                       BP-HZN-MBI00022701
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 50 of 52




                                                         Section 8 - Code of Conduct



                 The BP Code of Conduct stands for a fundamental BP commitment - to comply with all applicable legal
                 requirements and the high ethical standards set out in this code - wherever we operate. To help us meet
                 this commitment, the Code defines what BP expects of its businesses and people regardless of location
                 or background. It provides both guidance in key areas and references to more detailed standards,
                 instructions and processes for further direction.

                 All employees must adhere to the principles and requirements contained in this Code and should consult
                 the Code for guidance when acting on behalf of BP.

                 Employees must not use a contractor, agent, consultant, or other third party to perform any act
                 which conflicts with this Code. Employees who engage third parties such as contractors, agents,
                 or consultants to work on behalf of BP should include a contractual requirement to act
                 consistently with the Code when working on our behalf.

                 BP wishes to make it clear that it intends its business dealings to be characterized by honesty and
                 freedom from deception and fraud and that it finds unethical behavior unacceptable.


                 Practices that BP considers dishonest, unethical, or unacceptable include the following:

                        •   Fraud, bribery or corruption;
                        •   Deception;
                        •   Clandestine brokering or sharing of tender information;
                        •   Collusion for the purpose of corrupting a competitive tender; and
                        •   Payments, gifts or entertainment from suppliers to BP staff, agents or representatives to influence
                            decision-making.
                        •   Harassment in the Workplace

                 BP is committed to ensuring that its contractors apply all of the principles contained within the "Code of
                 Conduct" document. BP will endeavor to employ only those contractors that subscribe to these
                 principles, demonstrate their commitment to working towards their fullest application, and agree to the
                 measurement of their performance by BP.

                 The individual rights are intended to lead to greater mutual respect between both individuals and the
                 companies they work for. They seek to encourage safer and more secure employment, increase
                 efficiency, improve job satisfaction, and provide a better trained workforce for all those engaged in the
                 provision of Services under the Contract.

                 An electronic copy of BP's Code of Conduct "Commitment to Integrity" can be downloaded from the
                 following internet web site:

                 http://www.bp.com/sectiongenericarticle.do?categoryld=9003494&contentld=7006600


                 Where to go for help

                 If you do have a question or concern about legal or ethical standards, what, as a Contractor, should you
                 do?


                 A good place to start

                 Contacting the COMPANY REPRESENTATIVE named in Section 2 - General Conditions of Contract,
                 Appendix 1 of the Contract is usually a good place to start with a legal or business conduct issue. You




                 Halliburton Energy Services, Inc.                 Page 2 of 4
                 BPM-09-00255



CONFIDENTIAL                                                                                                         BP-HZN-MBI00022702
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 51 of 52




                                                     Section 8 - Code of Conduct


                 may also get help or advice from your own legal or compliance & ethics advisors within your own
                 company.

                 The BP Open Talk line

                 If you feel unsure about where to go for help, or are uncomfortable contacting the Contract Accountable
                 Manager, BP has an additional resource that can help - Open Talk.

                 The purpose of OpenTalk is to answer questions and respond to concerns about compliance, ethics and
                 the requirements described in this code. The OpenTalk telephone line and e-mail facility is operated by
                 an independent company that helps businesses respond to questions and concerns about compliance
                 and ethics.

                 The line operates 24 hours a day/seven days a week and also has translation services available at all
                 times.

                 Call OpenTalk on your local number or on 1-800225-6141 (US), 0800 917 3604 (UK), or the collect call
                 number 1 7045402242 or at the following:

                 A full list of local telephone numbers can be accessed on the OpenTalk website
                 http://opentalk.bpweb.bp.com or you can e-mail thefollowingaddressopentalk@myalertline.com




                 Halliburton Energy Services, Inc.            Page 3 of 4
                 BPM-09-002S5



CONFIDENTIAL                                                                                                   BP-HZN-MBI00022703
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-8 Filed 11/30/11 Page 52 of 52




                                                     Section 8 - Code of Conduct




                 Halliburton Energy Services, Inc.           Page 4 of 4
                 BPM-09-00255



CONFIDENTIAL                                                                       BP-HZN-MBI00022704
Business Confidential
